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                 IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION
________________________________
                                     ) MDL Docket No. 2800
In re: Equifax, Inc. Customer        )   Case No.: 1:17-md-2800-TWT
Data Security Breach Litigation      )
                                     ) CONSUMER ACTIONS
_________________________________ )



                             Appendix to
                         The Susman Group’s
              Joint Consumer Track Leadership Application
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DON’T MESS WITH
                                                                                 FROM LEFT TO RIGHT: PARTNERS GEOFFREY HARRISON, VINEET BHATIA, SHAWN RAYMOND, ERICA HARRIS, NEAL MANNE,
                                                                                 LEXIE WHITE AND MAX TRIBBLE.




                                                                                 Judge Lee Rosenthal’s Houston court-                       homeless man charged with sleeping under a bridge
                                                                                 room was packed earlier this year,                         had his bail set at $5,000.
                                                                                                                                              She quietly rose to examine the county’s expert witness
                                                                                 largely with troops of drab-suited                         who supported the practice.
                                                                                 bureaucratic lawyers defending Harris County’s prac-         So, sir, she asked, is it true that you see the cash bail
                                                                                 tice of jailing thousands of low-risk folks arrested for   system as a “budgeting tool for the poor,” helping a
How Susman Godfrey Became America’s Leading Trial Firm                           minor charges like unpaid tolls - and then holding them
                                                                                 for months by setting bail amounts they could not
                                                                                                                                            person by keeping her cash resources out of reach?
                                                                                                                                              This was not White’s first rodeo.
By Katrina Dewey                                                                 possibly pay.                                                White grew up in courtrooms in Baton Rouge. She
                                                                                    Across the aisle, Alexandra “Lexie” White, a            remembers sitting in front of counsel table, in a chair
                                                                                 Susman Godfrey partner, was one of four pro bono           to the side, watching her father preside over a civil
                                                                                 lawyers challenging the constitutionality of this bail     court dispute in which a lady was suing her landlord for
                                                                                 system. Representing those who had been arrested, she      emotional distress because a cleaning crew had forgotten
                                                                                 showed a video of a probable-cause hearing at which a      a boa constrictor in her apartment while she was away.

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                                                                                 PHOTO BY: FELIX SANCHEZ
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    Though White’s family has roots in the law, her upbring-   stands alone is in founding a firm that has become much
ing was “a lot of love” but not a lot of money. She used       better than its original footprint.
her talent as a competitive swimmer to win a scholarship           He started out clerking for U.S. Supreme Court Justice
to college and then returned to Baton Rouge where she          Hugo Black and teaching at University of Texas Law
set new marks in almost every class she took at Louisiana      School before helming an antitrust case for purchasers of
State University Law School. She graduated first in her        corrugated boxes. He won $550 million and understood
2004 class, clerked for the 9th Circuit, and then joined       that his success should come from his results rather than
Susman Godfrey.                                                his effort. There’s a sturdy Chevy truck in that recipe:
    Within months of joining, she went to trial – her second   federal clerkship, Texas and bet on yourself, even if there
– with the one and only Steve Susman, with whom she            are today Rauschenbergs hanging on the wall.
collaborated to prepare every witness and craft every              Others quickly signed on. Rather than joining the big
argument. When the judge asked Susman on the first             Texas firms, Lee Godfrey, Parker Folse, Mark Wawro, and a
day of trial if he was ready to give the opening state-        rustle of other smart graduates of, primarily, the University
ment, Susman rose, smiled, and drawled, “Your Honor,           of Texas School of Law, bought into the Susman vision
Ms. White will be delivering the opening.” After taking        in the early days. It was big and bold, like Susman, and
a deep breath, she did.                                        leavened by the elegant Godfrey. The contingent fee
    “We like to take risks,” says Neal Manne, Susman God-      work had swagger, but necessitated the firm taking some
frey’s Houston-based managing partner.                         small, not necessarily good cases to keep the lights on
    That attitude has made Susman Godfrey the nation’s         and everyone occupied. The vision was awesome, but
most elite litigation firm. Pick your metric – money, U.S.     the business model was a work in progress.
Supreme Court clerks, bet-the-company cases, percent-               Enter Neal Manne. From the year the firm opened,
age of partners in trial annually – the firm runs circles      Susman had his eye on the fellow Texan. Typical Susman,
around everyone else. In fact, with 93 percent of its at-      he would not let go. Manne had grown up in blue-collar
torneys having held federal clerkships (that’s 96 of 103       Baytown and set things on fire in Austin during law school.
lawyers and all of its partner-track associates) it beats by   Manne was graduating in 1980, and Susman called and
a handy margin even the justices of the U.S. Supreme           asked him to come interview. Manne was flattered but
Court’s own mark of 66 percent.                                told Susman no. “I’m not going to practice in Houston.
    In 2016 alone, Susman Godfrey won more than                You’re busy and I’m busy. I don’t want to waste your
$1 billion in verdicts and settlements for its clients. And    time or mine.” Not even remotely deterred, Susman
it posted a remarkable “in-trial” rate of 44 percent, mean-    responded, “Fine. But at a certain point you’ll change
ing a staggering 44 percent of its partners and associates     your mind, and call me, and we’ll talk about it.”
were in trial in 2016. Compare that with your average              Manne clerked for 9th Circuit Judge William Norris,
litigation firm.                                               then moved to D.C. where he worked at a Big Law firm
    To explain Susman Godfrey to Big Law is a little bit       before eventually becoming Chief Counsel to the U.S.
like trying to explain Lyle Lovett to fans of the Beas-        Senate Judiciary Subcommittees on Juvenile Justice
tie Boys. You have to be able to hear what you’re              and on Constitutional Law. He then became Chief of
listening to and understand where it comes from in order       Staff to Senator Arlen Specter. “During my six years in
to understand why Susman Godfrey is unique, special            D.C.,” Manne recalls, “I would periodically get a random
and without peer as an American law firm that excels in        phone call from Steve Susman, who I still had never laid
courtroom battle.                                              eyes on, and he would bark into the phone, ‘Manne, are
    You also have to know about a little boy named Louis,      you ready to get a real fucking job yet?’”
and why partners wander over to baseball fields for no             In 1988, Manne said yes, joining Folse, his best
particular reason. You need to understand a brotherhood        friend from law school, in Houston. Manne brought not
that includes sisters and how loyalty and fun can create       only political dexterity but a polish and sophistication
more profitability than any fancy-ass, hourly-billing law      that would amplify the firm’s corporate base, creat-
firm consultant could ever conjure. Read on and you will.      ing tremendous ballast for its expanding caseload of
    The firm plays off the board, as it has since maverick     contingency work. He has an extraordinarily broad litiga-
Steve Susman opened his doors in 1980.                         tion portfolio, including Chevron, for whom he is helping
    Watching Steve Susman in trial – such as when he           lead the defense in the climate change litigation. For
represented Frank McCourt in his divorce - you know            more than a decade he has been one of Wal-Mart’s go-to
you are in the presence of greatness. He is of an era that     litigators, having tried major cases for it across the country
produced two or three enduring legends, among the              and in Puerto Rico. His partners elected him a managing
best ever at their craft. That’s indisputable. Where Susman    partner in 2011 and have re-elected him ever since.

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       WA                                                           tion, performance and results. We structured everything
                                                                    about the firm based on winning for clients.”
                                                       NY               Tribble has handled hundreds of disputes, many of
  CA
                                                                    them involving patents and intellectual property, and is
                                                                    also handling the world’s largest trust dispute, represent-
                                                                    ing a grandson of the late J. Howard Marshall.
                                                                        Among his strokes of genius was the realization, while
                            TX
                                                                    representing Emerson Electric in the early 1990s, that
                                                                    Susman Godfrey could carve out a huge niche by adding
                                                                    its courtroom panache to the toolkit of patent litigation.
Susman Godfrey has exported its trial expertise from deep in the    “I felt our firm would have a real competitive advantage
heart of Texas to offices in California, Washington and New York.   because, while very smart and knowledgeable about the
                                                                    technology, many patent lawyers at the time did not have
   Somehow, the added responsibilities of managing                  our level of experience in front of juries and judges.”
the firm have not cut into his career-long devotion to                  That approach has led him to slice a hefty swath
pro bono and public interest cases. In the last three               through technology-driven litigation, both in joint ven-
years alone, Manne has defeated an effort by the                    tures with patent firms and independently, winning
State of Texas to block Syrian refugees from                        more than $1B in patent litigation. He’s taken on Apple,
resettling in the state, successfully represented an ex-            Samsung, American Express, Google and Intel – the
onerated Death Row inmate in having his prosecutor                  latter on behalf of MicroUnity for which he won $300M in
disbarred for life, and led the bail reform case against            licensing fees. He represented Barcelona-based Fractus,
Harris County – resulting in the release of thousands of            S.A. against the entire cell phone industry to enforce
low-risk defendants and the overturning of the uncon-               Fractus’ antenna patents. While the rest of the indus-
stitutional system.                                                 try paid to license the patents before trial, defendant
   Max Tribble, another young lawyer, also joined Susman            Samsung unwisely chose to fight. Tribble won $38M
in 1988 after graduating from Harvard Law School. The               against them. To date, Tribble has recovered over
die was cast for the next era of winning at the firm, pair-         $100 million in settlements and licenses for the company.
ing Susman’s own penchant for swinging for the fences               In the next year, he has trials scheduled for House Canary
with a turbo-charged group of risk takers who loved                 against Title Source Inc., and the Marshall trust battle.
calculated risk and brought a set of skills and swagger                 Geoffrey Harrison, possessed of a “dare me” per-
that are unsurpassed.                                               sonality and a business-driven mind, came to Susman
   Tribble, Geoffrey Harrison, and Vineet Bhatia are                Godfrey at the urging of the guy he calls “Big Daddy
the dream team for whom any major firm would trade                  Susman.” After studying business at Penn (where he was
its current 50-year-old partner ranks. And with good                a champion debater), he went to University of Chicago
reason; they are the bank. Over two decades of practicing           Law School, where he was a moot court champion. A
together, they have formed an enduring friendship. Their            professor in the law and economics program and 7th
families all have second homes in Telluride because they            Circuit Judge, Diane Wood, invited her fellow Texas alum
like to hang out together. They are unique as individuals           Steve Susman to lecture, and he figured he’d seek out
and a powder keg as trial lawyers.                                  the best 1L while he was there. Courtesy of the law review
   Tribble is the most senior of the three, and combines a          managing editor, Susman reached out to Harrison and
technical mind with a special appreciation for risk taking.         asked him to clerk with the firm the following summer.
He grew up on the East Side of Houston, the only child of               The two are kindred spirits, and Harrison has reveled
a couple who ran a chain of bowling alleys. He learned              in the trials he’s handled with Susman, Godfrey, Manne,
to count cash at the age of four, rolled a million quarters         and others since the day he joined in 1993 following a
from the pinball machines, and learned to ride a bike in            clerkship for the chief judge of the 11th circuit. He made
the bowling alley. His interest in business and entrepre-           partner in 1996, early and in record time.
neurship came honestly and led him to study business at                 Whereas Steve Susman gave Lexie White little notice
Harvard and then go to law school. As he was graduat-               that she would be delivering the opening statement,
ing in 1988, he heard about a unique young firm in his              Lee Godfrey gave Harrison an entire lunchtime of
hometown that liked to take risks.                                  notice that he’d be taking the next witness in one of his
   “Susman Godfrey was revolutionary,” he says, recalling           earliest trials. “Usually, people have plenty of notice.
the norm for most serious firms was lockstep compensa-              But sometimes opportunities present themselves. The
tion for partners. “We’ve always valued business genera-            question is: Are you the kind of person who will rise to

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the occasion or shrink from it?” says Harrison. “Around         of a lawyer when he enrolled at Columbia Law School
here, we rise.”                                                 in 1987. He was one of a couple Indian law students. A
   Northeast-born and Texas-raised, Harrison has                skilled debater, he won admiration at Wachtell early on
compiled an astounding track record of wins mixing com-         but found himself drawn to the plaintiffs’ side of cases.
mercial litigation and public interest cases. He was named      Although he and Wachtell typically represented defen-
Houston’s Hero in 2015 for his work upholding Houston’s         dants, he had a rare chance to work as plaintiff’s counsel
Equal Rights Ordinance in a lawsuit seeking its repeal.         for Philip Morris when it sued ABC for reporting it had
   He has won hundreds of millions of dollars in verdicts       spiked its cigarettes with nicotine.
and settlements, netting $50M for Apache Deepwater in              When Bhatia decided to move to Susman in 1995,
an offshore well-abandonment case in the Gulf in 2015.          his work for Philip Morris was an issue. Susman was
Harrison and his team of Bill Merrill, Ashley McMillian         considering representing the state of Texas as a
and Abby Noebels took on Texas legend David Beck                plaintiff in the Tobacco Wars. Ultimately the firm solved
in the case. And true to the Susman Godfrey playbook,           the potential conflict by defending Philip Morris
Harrison carefully cultivated meaningful roles for every        instead, marking one of its first major forays into big
member of the team, including its most junior member,           defense work – and locking up one of the nation’s
Noebels, whose witnesses kept getting cut. The Sunday           soon-to-be best trial lawyers. The relationship resulted




before the last week of trial, Harrison was home when he        in Bhatia serving as one of the lead lawyers defending
received a revised witness list that showed Noebels’ final      Philip Morris, and also provided Susman Godfrey with
witness was gone. He called her immediately.                    its earliest experience using large fixed fees in defense
   “She had noticed and she didn’t say but you could            cases rather than hourly billing – a practice that is now a
tell she was disappointed. So she was mighty pleased            mainstay of the firm.
when I said, ‘Why don’t you take one of my witnesses?’”            Bhatia has gone on to play a key role in building up
recalls Harrison. “That, I think, is a part of Steve Susman’s   the firm’s defense practice for clients including Genworth
continuing influence on how I, and I believe others, view       Financial, Equitas, Lyondell, and Kellogg Brown Root,
our roles in the firm: to bring along the generation behind     while winning over $1B in verdicts and settlements for
us as stand-up trial lawyers.”                                  clients including Lyondell and Masimo. He’s currently
   Harrison has three jury trials and two arbitrations set      preparing for trial in Northern California in early 2018
for 2018, with hundreds of millions of dollars in dispute.      on behalf of a hosting provider that claims Machine
In a comment that would be startling elsewhere but              Zone – maker of Game of War and Mobile Strike – de-
underscores the ties at Susman Godfrey, one partner             frauded his client.
said of Harrison, “I’d take a bullet for him.”                     “What I would say about our firm is that our work in
   Bhatia is the only lawyer to have lateralled between         plaintiff’s cases teaches us to be lean and to focus on the
the nation’s two most exclusive law firms – moving from         issues that really matter. That translates into how success-
Wachtell to Susman in 1995. Born in Lucknow, India, to          fully we handle defense cases,” says Bhatia, who brought
a family of doctors, he had no perspective on the job           experience and Fortune 500 clients from Wachtell.

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    His first big contingency win was for Lyondell, where
he won a $22M award at age 37. With a 30 percent
contingent fee, for roughly $300,000 in lawyer time he
obtained a fee of more than $6M for the firm. Under the
firm’s compensation system, Bhatia was paid the lion’s
share of that fee, and he was off and running.
    The trio of Tribble, Harrison, and Bhatia, anchored by
Manne, catalyzed Susman’s risk taking into a durable
machine that now has more than 30 partners who gener-
ate multimillion-dollar fees year in and year out. As Lee
Godfrey retired and Steve Susman reached his mid-70s,
Susman Godfrey has transcended the persistent question
of firms founded by legendary lawyers: Does anything
come next?
    For the Susman Godfrey of 2017, the answer is
a resounding yes from a firm well stocked with big
                                                                Los Angeles partner Kalpana Srinivasan
rainmakers in four nationwide offices who handle a
diversified mix of cases for plaintiffs and defendants,         Carmody, whose own story as an audacious outsider
most of it on various non-hourly arrangements. Even             rivals that of his firm. The former Tulsa bartender and
most of its defense work, for mega-clients like General         Merchant Mariner became Susman Godfrey’s least likely
Electric, Chevron and Wal-Mart, is done on monthly              partner – no clerkship – through big trial wins, risk-taking,
fixed-fee arrangements rather than by the hour. Each            and wooing of Steve Susman. After practicing for years
partner can determine her or his portfolio of risk,             in Dallas, including at his own firm, Carmody agreed to
allowing room for partners who are less risk tolerant while     move to Susman’s fledgling New York office in 2007.
letting those who go big put all their chips on the table.
                                                                What started as a couple cubbyholes somewhere on
    It also built out from its Texas base, spurred in part by
                                                                Park Avenue is today the swankiest office on 6th Avenue,
the tort reform that swept through Texas in the 1990s.
                                                                from which Carmody, Jacob Buchdahl, and a host of
One of its earliest stars, Parker Folse (a clerk to then-U.S.
                                                                other stars represent GE, Dan Loeb and, most recently,
Supreme Court Justice William Rehnquist), moved to Se-
                                                                lead Uber in its battles with Waymo.
attle to open the firm’s first non-Texas office in 1995. The
                                                                   “When I got off the plane at LaGuardia, I only had one
firm opened in Los Angeles in 1998 under class-action
                                                                good friend in New York: Daniel Boulud. Daniel is one of
powerhouse Marc Seltzer, and in 2006, the firm opened
                                                                the best chefs in the world, but he wasn’t going to give
in New York, where it has flourished under Bill Carmody
                                                                us any legal work. So the truth is, I didn’t have many wild
and collected Supreme Court clerks as if it were a hobby.
                                                                dreams at that point,” says Carmody. “Susman Godfrey
    The firm has evolved, but what has not changed at all
                                                                lawyers had handled cases across America – including
is the raw desire to win. To win to make money. To win to
help your client. To win to be the best. To win because         NYC – but we had no beachhead here. For the first bunch
it’s so fun to celebrate.                                       of years, Steve, Jacob Buchdahl, and I were completely
    To win.                                                     occupied with the challenge of the moment, which was
    Winning Susman Godfrey style is bigger, badder, and         getting to the point where we had our legs underneath
more fun than at any other firm. It’s celebrated in grand       us – the challenge of letting the best legal market in the
style in far-flung places by entire trial teams after a trial   country know that the best trial firm was in town and
victory or big settlement. It’s celebrated with an annual       open for business.”
good-natured, unofficial competition among the Tribble-            Since then, owing to its people, the New York office
Harrison-Bhatia-Robert Rivera crew, with Bacchanalias at        has found nothing but success, says Carmody. Of the 24
Carbone and other outrageously amazing restaurants              lawyers in the New York office, six have clerked for the
and resorts. It’s the lifeblood of the firm. In most cases,     Supreme Court, and a seventh is on his way to clerk for
the partner who brings in the win gets a huge cut of            Justice Elena Kagan.
the payout. And, unlike other major law firms, there are           “All of our New York lawyers are of the highest caliber,
neither 100 partners upstream stepping on the haul nor          and are all incredible people too. And their efforts on
the sense that such windfalls will never happen again.          behalf of our clients are unsurpassed. When the pres-
    There may be no better illustration of the larger-than-     sure is on, it’s 24/7, where all of us are making personal
life nature of law practice at Susman Godfrey than Bill         sacrifices for the good of our clients. When you add the

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PHOTO PROVIDED BY FIRM                                            LAWDRAGON ISSUE 18 | WWW.LAWDRAGON.COM                 107
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                                                                  for clients, and has been called “the best damn lawyer in
                                                                  Houston.” She epitomizes the firm’s philosophy of allow-
                                                                  ing each lawyer to calibrate her own risk as a trial lawyer,
                                                                  while at the same time overseeing recruiting, including
                                                                  the 13 lucky lawyers who joined this year. While they are
                                                                  all standouts (and federal clerks), she noted one lawyer’s
                                                                  answer when she asked: Why him?
                                                                      “I have grit,” he said. He liked sitting down and stay-
                                                                  ing with a problem until it was figured out. That was the
                                                                  right answer.
                                                                      If you want to talk grit, you need look no further than
                                                                  Los Angeles standout Kalpana Srinivasan, a 2004 Stan-
                                                                  ford Law School graduate who started her professional
                                                                  life as a policy reporter with the AP in Washington, D.C.
                                                                  She clerked for 9th Circuit Judge Raymond Fisher, then
                                                                  chose Susman Godfrey because she wanted a firm where
Seattle partner Parker Folse
                                                                  she could have more impact early on. Her fellow clerks
fact that we genuinely like and respect each other, too,          went to big firms and dug into discovery; Srinivasan
you couldn’t ask for more,” says Carmody. And, to bring           flew to Minnesota.
things full circle, the firm’s epic holiday party for the legal       As she tells it, Manne called her shortly after she joined
community each December is catered by Carmody’s old               the firm, looking for help in a statewide class action he
pal, chef Daniel Boulud.                                          was defending for Wal-Mart. His strategy involved find-
    The gatekeeper for entry into the nation’s most elite         ing some good store-level witnesses from Northern
lawyer club is Erica Harris, a longtime Houston partner.          Minnesota.
She only interviewed with Susman Godfrey at the urging                Says Srinivasan, “I was sort of stunned that, sight
of her UT classmate, Steve Susman’s son Harry, and                unseen, the managing partner of the firm was like, ‘Go
she has watched as the firm has become a ridiculously             find and pick out the trial witnesses for my case.’ I said,
impossible place to get a job.                                    ‘Okay, here I go.’”
   “Harry came up to me one day when I was in my suit                 In her large, rented SUV, she spent weeks travers-
and said, ‘My dad’s got this firm and they don’t have             ing the frozen tundra from Shakopee to White Bear
enough women signed up to interview. Would you do                 Lake to Owatonna, eating pie late at night with Wal-
me a favor and just take a half an hour? You could fit it         Mart employees. But here’s what sets Susman Godfrey
in here.’”                                                        apart: when the case was tried the next year, Srinivasan
   From the start, in a sea of firms that all seemed alike,       presented the witnesses at trial.
Susman Godfrey struck her as different. She flew to                   That latitude, as well as the people, was what attracted
Houston and had dinner with Neal and Nancy Manne.                 her to Susman Godfrey. Before she joined, she flew to
Neal is a fairly persuasive lawyer, of course, but abso-          Houston to meet the partners and was struck by their
lutely no one can resist Nancy. Because she liked the             caliber as lawyers and more. “They excel in so many
couple and wanted to build a friendship, Erica decided            different things. They’re incredible lawyers. They’re also
to accept a summer job. After graduating second in her            great skiers. Some of them are first-class runners. And I
class from Texas in 1996, she clerked for Judge Rosenthal         realized this group just has a passion for so many things,”
and then completed a fellowship at University of Virginia         she says.
Law School, thinking it would bolster what she thought                Law, of course, among them. To keep such a talented
would become a career in legal academia. Instead, she             and driven group of people focused and incentivized,
was drawn back to law practice, and in 1998 joined                money matters. The firm pays top dollar of $300,000
Susman Godfrey.                                                   or more for Supreme Court clerks. Under the firm’s
   Joining Susman Godfrey meant she was making                    system, partner compensation has nothing to do with
$10,000 less than her other options. “That was a big              seniority; there are no points or shares. On January 1
deal to my household, which was a ‘what do we have in             of each year, every partner starts out even, and com-
the refrigerator’ home. My parents didn’t understand,”            pensation for that year depends solely on the partner’s
she says. Her first week, she got on two trial teams and          performance - and results - for the year. No one keeps
argued a motion with Rivera. And she never looked back.           track of vacation time, and each partner decides for
She’s invalidated trademarks, won hundreds of millions            herself how much to work and on which cases. Part-

                                                                                                                        App. 6
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ners can earn seven figures without bringing in any              dad was an algae specialist in Hawaii. He moved the
business at all but, since the firm has few long-term clients,   family to Colorado, where he tried to build an oyster
there is a very strong incentive for rainmaking. In this         farm. Huh? For Raymond, this meant that the first
meritocracy, where each year stands alone, it’s not un-          appellate decision he read was one deciding whether
common for a very young partner to be among the most             it was OK that the bank took away his family’s livelihood
highly paid. And that says a lot at a firm where, because of     and his Dad’s dream. Raymond joined Teach for America
its extraordinary business model, there have been many           for two years and lived in a rural town in the Mississippi
years where a partner made $5 million, $10 million, or           Delta called Sunflower, where he was later inspired to
even substantially more.	                                        create the Sunflower County Freedom Project to help
   The firm’s monetary engine – and its democracy – is           kids who truly have nothing.
on full display every Wednesday at noon, Houston time.               After winning moot court championships in his
That’s when all lawyers have a phone call about potential        first two years at UT Law School, Raymond won a
matters and decide which cases to accept. The bar is             fellowship that allowed him to advocate for children in
incredibly high, since the firm is deciding whether to           Mississippi. In 2000, Manne persuaded Raymond to join
invest its contingent time, and often its out-of-pocket cash.    the firm. But first, Manne gave him a little negotiating
Despite the high stakes, the decisions are one person            tip: Raymond needed to ask Susman Godfrey to help
one vote; an associate who has been at the firm two              Raymond buy a plot of land in Sunflower, Mississippi, so
weeks gets the same vote on these decisions as Susman            that his Sunflower County Freedom Project could take
or Manne – and is expected to take the responsibility            root and flourish. Like a signing bonus from the heart.
seriously. Manne calls it “one of the ways we try to make            Raymond has grown into one of the firm’s up and
our lawyers feel personally invested in the success of the
                                                                 coming leaders. He’s won big trial verdicts and won
firm, right from the start.”
                                                                 acclaim for his community service. And he and his wife
   While he was elected to lead a firm that was already
                                                                 Alicia have four sons. Some afternoons Bhatia will just
abundantly successful, the understated Manne never
                                                                 stroll over to the baseball field to see how the Raymond
viewed staying the course as the goal. “Businesses
                                                                 boys are swinging that day.
are organic. Law firms have to grow or you can’t keep
                                                                     That’s how the Susman crew rolls. And it shows in
attracting the very best people – who are the only people
                                                                 every line of the words Raymond wrote to the firm as
we want,” he says. His two primary goals when he became
                                                                 he visited the critically ill Louis over his first 82 days of
a managing partner were to re-calibrate the already
                                                                 life. Louis suffered an array of life-threatening illnesses,
entrepreneurial compensation system to make it more
                                                                 most pointedly a chronic inability to breathe on his
transparent and objective, and to “make the firm look
                                                                 own. Over the ensuing weeks, four people were al-
different” in terms of gender and ethnic diversity. The
                                                                 lowed to be designated permanent visitors and, not
first was achieved quickly, and there has been steady
progress toward the second.                                      surprisingly, Susman Godfrey was well represented. The
   The firm’s mix of fee arrangements has moved steadily         visitors included Neal and Nancy Manne (limited to four
away from hourly work. More than 80 percent of the firm’s        permanent visitors, Raymond persuaded the hospital
revenues now derive from contingent, monthly-fixed               that Neal and Nancy were only one person, a tribute to
or hybrid fees, with less than 20 percent coming from            his skills as an advocate but also an apt metaphor for
traditional hourly fees.                                         the Mannes). The firm’s attorneys would come by at all
   And then there’s the personal. Manne and his                  hours as Raymond spent his evenings with Louis, writing
wife Nancy are an emotional core of the firm, where              a string of email updates to the firm during his endless
family is a center rather than a burden. At Susman, family       hours at the hospital.
provides real values you go home to at night, values                 On May 8, 2014, Raymond gave the toughest clos-
that resonate in who you are, as a person and a law              ing argument of his life. Drawing inspiration from John
firm partner.                                                    Belushi’s “Nothing Is Over Until We Decide It Is” classic
   Which brings us to King Louis. King Louis is not Steve        in Animal House, Raymond told Louis he had a tough
Susman’s password. He is, instead, a very real little boy        day ahead. His 83rd on this planet, for those keeping
who had a very, very rough first 82 days of life. He’s three     score. “If you can’t start breathing on your own tonight,
now and really likes when Dad reads him Goodnight                these kind folks are going to perform a tracheotomy
Moon. He especially likes negotiating with Dad on an             tomorrow morning.”
extension to each day’s statute of limitations.                      That night, King Louis took over his own breathing.
   Dad is partner Shawn Raymond, who learned first-              And the Susman Godfrey team cheered like it had won
hand what the legal system looked like growing up. His           another billion dollars.

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Class Action Group Of The Year: Susman Godfrey
By Michael Macagnone

Law360, Washington (January 16, 2018, 3:50 PM EST) -- Susman Godfrey LLP continued to push for
victories in class actions varying from auto parts purchasers to film animators in the past year, proving
the firm's role as a litigation powerhouse and landing it among Law360's Class Action Practice Groups of
the Year.

The firm has racked up a number of victories in the past year — from
helming broad multidistrict litigation in In Re: Automotive Parts
Antitrust Litigation to copyright claims against companies
like Spotify and Sirius XM — without a dedicated class action group.
Marc Seltzer, a partner at Susman Godfrey's Los Angeles office, said
the firm's focus on litigation of all kinds has carried through to class
actions, including work that put him on Law360's 2017 Competition
MVPs.

"We pride ourselves on being trial lawyers who can take on any kind
of case," Seltzer said. "Our attorneys work on a wide variety of cases,
not just class actions, representing both plaintiffs and defendants."

Seltzer serves as co-lead counsel in In Re: Automotive Parts Antitrust Litigation, in which he represents
end-payor plaintiffs who allege a global cartel of auto parts makers conspired to fix prices on various
components. Seltzer spotlighted the auto parts litigation as "one of the most complex set of class
actions ever litigated," with 41 separate class actions across 75 different defendant groups. As part of
the sprawling ongoing litigation, payors have secured more than $900 million in settlements.

He was also appointed co-lead counsel for a class of approximately 10,000 animation employees alleging
that companies such as Disney, Pixar, DreamWorks, Lucas Films and Sony agreed to not hire employees
from the other firms.

The animators accused multiple entertainment companies — including Dreamworks Animation SKG
Inc., Twentieth Century Fox Film Corp. subsidiary Blue Sky, Sony Pictures Imageworks Inc. and Sony
Pictures Animation Inc. — of entering into secret "gentlemen's agreements" not to actively solicit one
another's employees in order to suppress salaries across the industry.

Blue Sky and the Sony Pictures companies agreed to settle for a combined $19 million in March 2016,
court records show. DreamWorks reached its deal in October, and last February,


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Disney, Pixar and Lucasfilm, along with Two Pic MC LLC, reached their own $100 million settlement,
according to case filings.

Susman Godfrey helped secure approval of the settlements last year, over the objection of producers
who claimed they were unfairly cut out of the deal.

The firm has also made substantial steps in In re: Qualcomm Patent Licensing Antitrust Litigation, in
which partner Kalpana Srinivasan was named co-lead plaintiffs' counsel and to the steering committee
for plaintiffs. Srinivasan said the case involves a huge amount of discovery work and case management
skills.

In that suit, plaintiffs allege Qualcomm used its dominance to strong-arm device makers into paying
higher royalties and agree to anti-competitive licensing terms; the pared-down indirect purchaser claims
recently survived a motion to dismiss.

"The technology changes and how we handle the demands of more complicated and complex litigation
changes," Srinivasan said. "That all sort of evolves over time but at the end of the day understanding the
case's critical facts and legal issues don't change."

Susman Godfrey's victories include novel litigation over copyright claims against Sirius XM and Spotify,
and the teams on those suits included Steven Sklaver, a partner at the firm's Los Angeles office. Sklaver
said that entertainment actions like the Flo & Eddie Inc. v. SiriusXM Radio Inc. cases are "novel and
challenging," combining applications of traditional copyright law to changing technology with high-
stakes litigation.

"We are talking about novel technology both in the Sirius XM and Spotify [litigation] applied to well-
founded, we think, intellectual property law, so it is very interesting to get involved in litigation at the
intersection of both old and new," Sklaver said.

He pointed out that entering into the high-low settlement in the days before a scheduled trial in the Flo
& Eddie litigation helped maximize the class' recovery. In that case, the compensation was pegged to
several appeals, two of which went against the class, he said.

"It was a good idea we entered into that settlement, as the class might have gotten no compensation if
not for that settlement," Sklaver said.

In the Spotify litigation, Susman Godfrey's team helped secure a $43 million settlement last year that
is still subject to court approval. The deal resolves two proposed class actions filed in January 2016 by
Camper Van Beethoven lead singer David Lowery and singer-songwriter Melissa Ferrick saying Spotify
had chosen to "infringe now, apologize later," rather than go through the effort of fully licensing the
band's music.

--Additional reporting by Melissa Lipman, Cara Bayles, Diana Novak Jones, Bill Donahue and Darcy
Reddan. Editing by Catherine Sum.


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Class Action Group Of The Year: Susman Godfrey
By Diana Novak Jones

Law360, Chicago (January 26, 2017, 2:23 PM EST) -- During a year marked by millions in settlements for
auto part customers, rock stars and animators, Susman Godfrey LLP’s success in a series of complex —
and wildly different — class actions earned it a place among Law360’s Class Action Practice Groups of
the Year.

But the award may be a bit of a misnomer, as Susman Godfrey
doesn’t organize itself into practice groups. It’s that decision partner
Marc Seltzer credits with why the firm is able to handle such a wide
variety of industries in its class action work.

“We do all different kinds of commercial civil litigation,” Seltzer told
Law360. “I think that gives us a generalist experience and approach
to practicing law. We really have a unique perspective on how these
cases can be litigated efficiently.”

The firm used its adaptability to take on several high-profile class
actions in the entertainment industry last year, an industry that Susman Godfrey partners said
represents a relatively new addition to the firm’s stable of fields.

Susman Godfrey served as co-counsel to a class of musicians led by 1960s rock band The Turtles,
suing Sirius XM over royalties after the satellite radio provider played their songs. Though their music
was recorded before 1972 and so doesn’t fall under federal copyright law, a California federal judge
ruled in 2014 that Sirius was liable for royalties for the public performance of those songs.

Gradstein & Marzano PC teamed up with Susman Godfrey after that ruling to help protect the certified
class and try the case if necessary, according to Steven Sklaver, a Susman Godfrey partner who worked
on it. Susman Godfrey isn’t shy about taking class actions to trial, Sklaver told Law360, which he said is
likely part of why Sirius ultimately agreed to settle in November.

Under the deal, Sirius agreed to pay up to $99 million in both retroactive and future royalties to The
Turtles and other artists with pre-1972 recordings. The settlement does allow Sirius to appeal the
judge’s ruling on its liability for public performance, but will award the class an additional $5 million and
a 2 percent increase in the royalty rate if the ruling is upheld.

“We are first and foremost a trial law firm,” Sklaver said, adding that a trial holds defendants’ feet to the


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fire. “We believe that approach adds value to a case. We’re willing to take that risk to drive up the value
and benefits for the class.”

The Sirius deal wasn’t the only one Susman Godfrey negotiated in 2016 ahead of a scheduled trial.

The firm secured nearly $70 million in settlements last year as co-counsel for a class of animators and
visual effects employees who sued several of Hollywood’s biggest movie studios over claims the studios
had a “gentleman’s agreement” not to poach each other’s employees or get into bidding wars to hire
them.

In the most recent settlement, announced in October, Dreamworks Animation SKG Ltd. agreed to pay
the class $50 million to end their claims, a payout that the class said represented about 40 percent of
what Dreamworks’ actions cost its animators.

Earlier in 2016, the class negotiated a $6 million agreement with Twentieth Century Fox Film Corp.
subsidiary Blue Sky Studios and a $13 million deal with Sony Pictures Corp. units Sony Pictures
Imageworks Inc. and Sony Pictures Animation Inc.

The Walt Disney Co. and Lucasfilm Ltd. are among the studios still involved in the suit, which was filed in
September 2014.

But despite the big names involved, Susman Godfrey’s entertainment industry actions aren’t the biggest
cases it took on last year. The entertainment settlements were negotiated while the firm took a starring
role in massive multidistrict litigation against auto part manufacturers in Michigan federal court.

In that litigation, which involves more than 30 related actions involving different components of
automobiles, Susman Godfrey is among several firms representing consumers who purchased or leased
cars containing parts made by manufacturers that allegedly worked together to rig bids and fix prices.

The end payor purchaser class counsel team on the MDL, which includes both Sklaver and Seltzer, has so
far negotiated approximately $673 million in partial settlements on behalf of the consumer class.

The settlements were scattered throughout last year, with some companies, like Japanese bearing
manufacturer NTN Corp., signing off on several separate deals for allegations about different
components.

The firm’s history in class actions — and its ability to adapt quickly to serving clients in varying industries
— comes down to a single specific skill, Sklaver told Law360.

“What we do have is an ability to take a complex, thorny problem, analyze it and present it in a clean,
simple manner,” Sklaver said. While the firm uses it in all the work it does, “that skill set applies in class
actions. The stakes get bigger.”

--Additional reporting by Bill Donahue, Kat Greene, Eric Kroh and Kelly Knaub. Editing by Jack Karp.




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                              Susman Godfrey L.L.P.

      Susman Godfrey L.L.P. is a firm of 130 lawyers with offices in Houston,

New York, Seattle and Los Angeles. Ninety percent (90%) of our lawyers served

as law clerks for federal judges after law school, including nine (9) who clerked for

Justices of the United States Supreme Court. Since its founding in 1980, Susman

Godfrey and its attorneys have served as lead counsel in hundreds of class actions

and other complex commercial cases in courts across the United States. Susman

Godfrey’s practice is dedicated to exclusively to litigating and trying lawsuits. The

firm has represented clients in some of the largest and most complex cases ever

brought and demonstrated that it has the skill, experience and resources to handle

such cases effectively and efficiently. Susman Godfrey’s extraordinary track

record is reflected in the numerous awards for excellence it has received, including

being recognized as: “Class Action Group of the Year” (Law 360, annually 2017-

2018); “America’s Leading Trial Firm” (LawDragon, 2017); “Most Feared

Plaintiffs Firm” (Law360, annually 2014-2016); “America’s Elite Trial Lawyers”

(The National Law Journal, 2014); “Plaintiffs Hot List” (The National Law

Journal, 2015); “Top Litigation Boutique” (Vault, annually 2012-2016); and

“Litigation Boutique of the Year” (The American Lawyer, 2009).




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Among the firm’s most significant class actions are:

Case & Judge presiding                   Role & Results
In re Toyota Motor Corp. Unintended      Co-lead counsel for class plaintiffs.
Acceleration Marketing, Sales            Obtained settlement valued by the
Practices and Products Liability         Court at $1.6 billion.
Litigation, (C.D. Cal.) (Selna, J.)
In re Automotive Parts Antitrust         Co-lead counsel for end payor class
Litigation, (E.D. Mich.) (Battani, J.)   plaintiffs. Obtained partial settlements
                                         of approximately $1 billion.
In re Animation Workers Antitrust        Co-lead counsel for class plaintiffs.
Litigation, (N.D. Cal.) (Koh, J.)        Obtained settlements of approximately
                                         $168 million.
In re Libor-based Financial              Co-lead counsel for over-the-counter
Instruments Antitrust Litigation,        class plaintiffs. Obtained partial
(S.D.N.Y.) (Buchwald, J.)                settlements of $250 million
The Dial Corporation et al. v. News      Co-lead counsel for class plaintiffs.
Corporation et al., (S.D.N.Y) (Pauley, Obtained settlement of $244 million.
J.)
White vs. NCAA                           Co-lead counsel for class plaintiffs.
(C.D. Cal.) (Fairbank, J.)               Obtained settlement of $228 million.
Processed Egg Products Antitrust         Co-lead counsel for plaintiffs.
Litigation, (E.D. Penn.) (Pratter, J.)   Obtained partial settlements of $135
                                         million.
Flo & Eddie Inc. v. Sirius XM Radio      Co-lead counsel for class plaintiffs.
Inc., (C.D. Cal.) (Gutierrez, J.)        Obtained settlement of $99 million.
Korean Air Antitrust Litigation, (C.D. Co-lead counsel for class plaintiffs.
Cal.) (Otero, J.)                        Obtained settlement of $86 million.
Van Roden, et al., v. Termeer, et al.,   Co-lead counsel for class plaintiffs.
(S.D. N.Y.) (Stanton, J.)                Obtained settlement of $64 million.
Ferrick v. Spotify,                      Co-lead counsel for class plaintiffs.
(C.D. Cal.) (O’Connell, J.)              Obtained a settlement of $43 million.
In re Corrugated Container Antitrust Lead counsel for class plaintiffs.
Litig. (S.D. Tex) (Singleton, J.)        Obtained settlements of more than
                                         $350 million.
In re Vitamins Antitrust Litigation, (D. Co-lead counsel for class plaintiffs.
Minn.) (Hogan, J.)                       Obtained settlements in excess of $1
                                         billion.




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In re Korean Air Lines Co., Ltd.          Co-lead counsel for class plaintiffs.
Antitrust Litigation, (C.D. Cal.)         Obtained settlement of $86 million.
(Otero, J.)
Schulein, et al. v. Petroleum             Lead counsel for class plaintiffs.
Development Corp., et al., (C.D. Cal.)    Obtained settlement of $37.5 million.
(Guilford, J.)

The following Susman Godfrey lawyers will assist Mr. Susman in this litigation:

      Marc Seltzer (Los Angeles), one of the firm’s most senior lawyers with 45

years of experience in prosecuting and defending complex commercial cases in

state and federal courts throughout the United States. He has served as lead counsel

and as a member of the plaintiffs’ steering committees in numerous MDL and class

action proceedings, including In re Animation Workers Antitrust Litigation, In re

Toyota Motor Corp. Unintended Acceleration, In re Automotive Parts Antitrust

Litigation; In re General Motors LLC Ignition Switch Litigation; and White v.

NCAA. Mr. Seltzer is a Life Member of the American Law Institute and a member

of the Advisory Board of the American Antitrust Institute. He was honored as

a "Competition Law MVP" (Law360, 2017), a "Giant Slayer" (The Recorder,

2017), and a “Class Action MVP” (Law 360, 2013). He has also been named as

one of the top plaintiffs’ attorneys in California (The Los Angeles Daily Journal,

2016).

      Ophelia Camiña (Houston), one of the firm’s most senior lawyers with 35

years of experience litigating complex commercial cases in both state and federal




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courts throughout the United States. Ms. Camiña was inducted into the Texas

Verdicts Hall of Fame for her $239 million jury verdict in Dillard's, Inc. vs. i2

Technologies, Inc., which was the eighth largest in the United States in 2010. She

was also named “Litigator of the Week” (Texas Lawyer, 2014) based on obtaining

a $15 million jury verdict in GlobeRanger vs. Software AG. She is consistently

named to the list of SuperLawyers in Texas including to the Top 50 Women

Lawyers in Texas, Top 100 Lawyers in Dallas, and Top 100 Lawyers in Houston.

      Steven Shepard (New York), with 10 years’ experience, Mr. Shepard has

demonstrated his abilities in litigating complex commercial and class action cases.

Mr. Shepard led the team that obtained a favorable settlement in a “bellwether”

case in In re: General Motors LLC Ignition Switch Litigation. Mr. Shepard also

helped secure a $450 million settlement from Novartis Pharmaceuticals and other

defendants in one of the largest settlements ever awarded to a single whistleblower

in a False Claims Act case. Prior to joining the firm, Mr. Shepard clerked for

Justice Anthony Kennedy (2008-2009) and Ninth Circuit Judge Alex Kozinski

(2007-2008).




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                                 CASE LIST OF
                             Carr & Weatherby, LLP

       Carr & Weatherby, LLP (formerly Carr & Palmer, LLP) (the “C&W”),
founded by W. Pitts Carr in Atlanta, Georgia, in 1973, is a civil trial firm with
recognized practices in the areas of complex litigation, including antitrust,
securities, environmental, toxic tort, product liability, and transportation law. Alex
D. Weatherby joined the firm in 2010. The firm operates from offices in Atlanta
with clients represented throughout the United States. The mission of the firm is to
provide clients with exceptional legal services and representation in a cost-
effective and timely fashion. Their objective is achieved by aggressively gaining
control of cases from the beginning. Once contacted by a client, the firm develops
a strategic approach to the case and immediately conducts an investigation to
gather the relevant information. To assist in this effort, the firm calls on a team of
experts and investigators from its established network. The firm’s prompt effort
enables them to devise a strategy for its clients to bring the case to a successful
resolution.

        C&W is comprised of leading attorneys recognized for excellence in their
practice areas. The firm’s cornerstone is professionalism and high ethical
standards, as illustrated by its listing in The Martindale-Hubbell Bar Register of
Preeminent Lawyers, which selects and recognizes the nation’s law firms that
meet the highest ethical standards. W. Pitts Carr, the firm’s founder, and the firm
itself are listed in The Best Lawyers in America.

      C&W is committed to providing quality and cost-effective legal counsel and
services to its clients. Complex cases for which C&W has served as counsel
include:

   A. Representative Class Actions in which C&W Has Represented the
      Plaintiff Class

Etzel v. Hooters of America, LLC, Case No. 1:15-cv-0155-LMM, U.S. Dist.
Court for Northern District of Georgia – The Firm served as Co-Lead Counsel in
this nationwide class action, asserting a claim for violation of the TCPA against
one of the largest restaurant chains in America. This litigation resulted in a



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settlement valued in excess $1.4 million, which is pending before the court now
for final approval.
In Re The Home Depot, Inc., Customer Data Security Beach Litigation (Financial
Institution Track), Case No. 1:14-md*-02583-TWT, U.S. Dist. Court for
Northern District of Georgia - Served as Co-Liaison Counsel in this nationwide
class action, asserting claims on behalf of all financial institutions whose
customers’ cards were compromised by the Home Depot Data Breach in 2014.
This multi-district litigation has been settled, and the settlement has been
preliminarily approved. The settlement is valued in excess of $25 million.

In Re Food Service Equipment Hardware Antitrust Litigation, Case No. 1:10-cv-
1849-WSD, U.S. Dist. Court for Northern District of Georgia - Served as Liaison
Counsel in this Federal antitrust case involving price-fixing and related issues.
This case resulted in class certification and the recovery of damages on behalf of
the class, in the millions of dollars.

In Re Immucor, Inc. Securities Litigation, Case No. 1:09-cv-2351-TWT, U.S.
Dist. Court for Northern District of Georgia - Served as Liaison Counsel in this
Federal securities case, involving a securities class action. This case resulted in a
settlement, in the millions of dollars for the class.

Edgar “Bo” Pounds et al v. Cobb Energy Management Corporation et al, Case
No. 07-1-9408-48, Superior Court of Cobb County, Georgia - Served as Lead
Class Counsel in a derivative action brought by members of the Energy
Management Corporation (“EMC”), addressing conflicts of interest, transfer of
the EMC’s employees of assets to a for-profit entity, and by-law issues. The case
resulted in a recover of $120,000,000.00 of assets, return of the employees to the
EMC, revision of the by-laws, replacement of the Board via elections conducted
pursuant to the bylaws, and the resignation of the CEO.

Southern States Police Benevolent Assn., Inc. et al. v. Point Blank Body Armor,
Inc., Seventeenth Judicial Circuit in and for Broward County, Florida – C&W
served as Lead Class Counsel to a class of law enforcement officers and agencies
who purchased defective ballistic protection vests containing Zylon®. The case
resulted in a nationwide class settlement in 2006 that provided replacement vests
and other benefit to law enforcement officers with a total economic value of
approximately $50,000,000.00 million.



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Thomas Kiefer et al. v. Protective Products International, Seventeenth Judicial
Circuit in and for Broward County, Florida – C&W served as Lead Class Counsel
to a class of law enforcement officers and agencies who purchased defective
ballistic protection vests. The case resulted in a nationwide class settlement in
2006 that provided replacement vests and other benefit to law enforcement
officers with a total economic value in excess of $1,500,000.00.

Scott Martin et al. v. Gator Hawk Armor, Inc., Fourth Judicial Circuit in and for
Duval County, Florida – C&W served as Lead Class Counsel to a class of law
enforcement officers and agencies who purchased defective ballistic protection
vests. The case resulted in a nationwide class settlement in 2006 that provided
replacement vests and other benefit to law enforcement officers with a total
economic value in excess of $3,300,000.00

Southern States Police Benevolent Assn., Inc. et al. v. Armor Holdings, Inc.,
Armor Holdings Products, LLC and Safari Land Ltd., Inc.(Armor II), Fourth
Judicial Circuit in and for Duval County, Florida – C&W served as Lead Class
Counsel to a class of law enforcement officers and agencies who purchased
defective ballistic protection vests. The case resulted in a nationwide class
settlement in 2005 that provided replacement vests and other benefit to law
enforcement officers with a total economic value in excess of $33,000,000.00.

Steven W. Lemmings et al. v. Second Chance Body Armor, Inc., Toyobo Co., Ltd
et al., District Court for Mayes County, Oklahoma, Case No. CJ-2004-62 – C&W
served as Co-Lead Class Counsel to a nationwide class of law enforcement
officer and agencies who purchased defective ballistic protection vests containing
Zylon®. The case resulted in a nationwide settlement in 2005 that provided
$29,000,000.00 in cash to the Class.

Southern States Police Benevolent Assn., Inc. et al. v. Point Blank Body Armor,
Inc., Seventeenth Judicial Circuit in and for Broward County, Florida – C&W
served as Lead Class Counsel to a class of law enforcement officers and agencies
who purchased defective ballistic protection vests containing Zylon®. The case
resulted in a nationwide class settlement in 2005 that provided replacement vests
and other benefit to law enforcement officers with a total economic value of
approximately $2,000,000.00 million.




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Southern States Police Benevolent Assn., Inc. et al. v. Armor Holdings, Inc., et
al.(Armor I), Fourth Judicial Circuit in and for Duval County, Florida – C&W
served as Lead Class Counsel to a class of law enforcement officers and agencies
who purchased defective ballistic protection vests containing Zylon®. The case
resulted in a nationwide class settlement in 2004 that provided replacement vests
and other benefit to law enforcement officers with a total economic value in excess
of $20,000,000.00 million.

In Re: Atlanta Waste Services Antitrust Litigation, C-83-796A (N.D. Ga.). The
firm acted as Liaison Counsel in this antitrust class action in which recovery was
made in excess of $1.1 million.

In Re: Pontiac 6000 Litigation. In this nationwide Moss-Magnuson Act Case, the
firm was one of several firms representing a class action which resulted in recovery
for plaintiffs and partial recall of the subject vehicles.

In Re: Flight International Securities Litigation. The firm served as liaison counsel
in this national securities class action resulting in a recovery of $5.4 million on
behalf of the class.

In Re: DCA Securities Litigation, U.S. Dist. Court for Northern District of
Georgia, The firm served as lead counsel in this national securities class action.
The case was settled for $6.25 million.

In Re: C & S/Sovran Shareholder Litigation, U.S. Dist. Court for Northern District
of Georgia, The firm represented plaintiffs in this nationwide securities fraud case
which was filed as a class action. This case was concluded in 1994 for
approximately $9 million.

In Re: KnowledgeWare Securities Litigation, U.S. Dist. Court for Northern District
of Georgia, The firm served as co-lead and liaison counsel in this nationwide
securities fraud class action which was concluded for approximately $4 million.

In Re: KnowledgeWare Shareholder Litigation II, U.S. Dist. Court for Northern
District of Georgia, The firm served as co-lead and liaison counsel in this
nationwide securities fraud class action which was concluded for approximately
$18 million.



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In Re: National Data Corporation, U.S. Dist. Court for Northern District of
Georgia, The firm served as liaison counsel in this national securities fraud class
action. The case resulted in a settlement of $6.95 million.

In Re: T2 Medical, Inc. Shareholder Litigation, U.S. Dist. Court for Northern
District of Georgia, The firm served as co-lead counsel and liaison counsel in this
national securities fraud class action which was concluded for cash and securities
valued at approximately $50,000,000.00.

In Re: Domestic Air Transportation Antitrust Litigation, U.S. Dist. Court for
Northern District of Georgia, The firm served as liaison counsel and part of a
leadership committee of five firms representing the plaintiffs in this national
antitrust class action. The case resulted in a settlement valued at approximately
$250,000,000.00.

Farrington v. ConAgra, Inc., Superior Court of Vigo County, Indiana, The firm
served as lead counsel representing plaintiffs in this commercial fraud case filed in
the State of Indiana which was concluded for $2.9 million.

In Re: Vista 2000, Inc. Securities Litigation, U.S. Dist. Court for Northern District
of Georgia, The firm served as co-lead counsel in this securities fraud class action
which was concluded in exchange for 40% of the defendant corporations
outstanding stock.

In Re: 1996 Medaphis Securities Litigation, U.S. Dist. Court for Northern District
of Georgia, The firm served as Liaison Counsel in this securities fraud class
action. The case resulted in a settlement valued at $80,000,000.00.

In Re: Carpet Antitrust Litigation, U.S. Dist. Court for Northern District of
Georgia,The firm served as co-lead counsel for plaintiffs in this nationwide
antitrust class action which has been concluded for $50,000,000.00.

In Re: Blue Cross\Blue Shield of Georgia, Superior Court of Fulton County,
Georgia, The firm served as lead counsel for plaintiff charities attacking the
conversion of Blue Cross/Blue Shield from a charitable organization under the
laws of the State of Georgia to "for profit status." The case concluded for cash and
securities valued at approximately $119,000,000.00.



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In Re: G&W Noteholder Litigation. The firm served as co-lead counsel for
plaintiffs in this nationwide negligent misrepresentation and breach of fiduciary
duty class action. The case resulted in a recovery of $2.2 million from the
fiduciary defendant.

In Re: Pediatric Services of America Securities Litigation, U.S. Dist. Court for
Northern District of Georgia, The firm served as liaison counsel for plaintiffs in
this nationwide securities fraud class action resulting in a recovery of
approximately $3,000,000.00.

   B. Non-Class Actions in which C&W Has Represented Large Plaintiff
      Groups

Mildred Pipkin, et al. v. Colonial Motor FreightLines, Inc., et al., Superior Court
of Scotland County, NC. The Firm successfully represented approximately 150
property owners whose private water wells were contaminated by leaks from a
nearby truck stop.

Louise Brusher, et al. v. Alternate Energy Resources, Inc., Superior Court of
Richmond County, Georgia. The Firm successfully represented approximately 50
property owners whose groundwater and wells were contaminated by discharges
from a solid recycling plant.

Alice Massa, et al. v. Peabody Coal Company, United States District Court for the
Northern District of Indiana. The Firm successfully represented approximately 100
property owners whose homes were damaged by blasting, dust and noise from a
Peabody Coal Company surface mine.

McCutchanville United Methodist Church, et al. v. Amax Coal Company, Superior
Court of Gibson County, Indiana. The Firm successfully represented approximately
100 property owners whose homes were damaged by blasting from Amax Coal
Company surface mine.

Glenn W. Brown, et al. v. Bulk Distribution Centers, Inc., Superior Court of
Fulton County, Georgia -- The Firm successfully represented approximately 20
plaintiffs in the Underwood Hills neighborhood of Atlanta, Georgia, in an action
against Bulk Distributors, Inc., due to its releasing of toxic fumes and chemicals
into the environment in the plaintiffs' neighborhood.


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                                    Levin, Sedran & Berman

Levin Sedran & Berman (“LSB”) is one of the nation’s preeminent and most experienced
plaintiff class-action firms with extensive experience and expertise in consumer protection, data
breach, privacy, products liability, antitrust, securities and other complex class-action litigation.
LSB has been appointed lead counsel or to other leadership positions in hundreds of cases,
including in more than twenty five MDLs, and is presently serving or has served in such
positions in several of the largest pending class actions nationwide. See e.g., In re Chinese-
Manufactured Drywall Product Liab. Litig., MDL No. 2047 (E.D. La.) (LSB appointed Lead
Counsel); In re Nat’l Football League Players’ Concussion Injury Litig., MDL No. 2323 (E.D.
Pa.) (LSB appointed to Plaintiffs Steering Committee and Subclass Counsel for Settlement); In
re Oil Spill by the Oil Rig “Deepwater Horizon” in the Gulf of Mexico, on April 20, 2010, MDL
2179 (E.D. La.) (LSB appointed as Special Counsel to the Plaintiffs’ Fee and Cost Committee);
In re Air Cargo Shipping Servs. Antitrust Litig., MDL No. 1775 (E.D. N.Y.) (LSB appointed Co-
Lead counsel); and In re Wells Fargo Insurance Marketing Sales Practices Litigation, MDL No.
2797 (C.D.Ca.) (LSB appointed to Plaintiffs’ Executive Committee).

As a result of its success representing consumers in complex litigation throughout the country,
LSB has been distinguished as a Tier I class-action firm in the Best Law Firmsrankings
published in the U.S. News and World Report Best Law Firms. It also ranked LSB Tier I for
personal injury and mass tort firms. LSB was also named to THE NATIONAL LAW
JOURNALs insurance list of Americas Elite Trial Lawyers in 2014. Members of LSB are
listed in the LEGAL 500, LAW DRAGON 500, Martindale Hubbells Directory of Preeminent
Attorneys, as was in Best Lawyers In America.Id. LSB pioneered the use of class actions and
mass actions in the United States and its work has resulted in numerous record-breaking
recoveries over the past three decades. Just for example:

In re: Asbestos School Litigation, No. 83-0263 (E.D. Pa.) (LSB as member of Executive
Committee and Lead Trial Counsel obtained a certification of a nationwide class and settlement
on behalf of school districts);

In re: Diet Drug Product Liability Litigation, MDL No.: 1203 (E.D. PA) (LSB as Co-Lead
Counsel obtained a $6.75 billion dollar settlement on behalf of consumers who ingested Fen
Phen);1

In re: The Exxon Valdez, No. 89-00095 (D. Alaska) (LSB as a member of the Trial and
Discovery Committee represented fishermen, native corporations, native villages, native claims
and business claims in this mass tort. After a jury trial, Plaintiffs obtained a judgment of $5
billion in punitive damages - at the time the largest punitive damage verdict in U.S. history. Later
reduced to $507.5 million by the U.S. Supreme Court).

In re: Chinese-Manufactured Drywall Product Liability Litigation, MDL No.: 2047 (E.D. La.)
(LSB as Lead Counsel along with Liaison Counsel and the PSC obtained inter-related


1 That prolix settlement has received favorable comments by academia. See Nagareda , R., “Autonomy,
Peace, and ‘Put” Options in the Mass Tort Class Action, “ 115 Harv.L.Rev. 747, 756 (2002).



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settlements involving various suppliers, builders, installers, insurers and manufacturers of
Chinese drywall valued in excess of $1 billion dollars).

In re: The Vioxx Product Liability Litigation, MDL No.: 1657 (E.D. La.) (As a member of the
PSC and PlaintiffsNegotiating Committee, LSB was instrumental in achieving a $4.85 million
dollar settlement on behalf of consumers who ingested Vioxx).

In re Air Cargo Shipping Servs. Antitrust Litig., MDL No. 1775 (E.D. N.Y.) (As Co-Lead
counsel in the decade long air cargo antitrust litigation LSB obtained 28 inter-related settlements
against air cargo service providers totaling $1.2 billion dollars).

In re: National Football League PlayersConcussion Injury Litigation, MDL No.: 2323 (E.D.
Pa.) (As Subclass Counsel along with Lead Counsel obtained an uncapped settlement valued
in excess of $1 billion dollars on behalf of NFL football players).

These are a just a few examples of cases LSB was instrumental in the negotiations, structure and
administration of MDL class and global settlements. LSB is repeatedly recognized by courts
across the country for its work product and success in handling complex class-action cases. A
few examples for the court’s consideration:

In the Lazy Oil Co. v. Witco Corp., et al., C.A. No. 94-110E (W.D. Pa.) (Plaintiffs’ Co-Lead
Counsel) the district court made the following comments concerning the work of Co-Lead
Counsel: “[t]he Court notes that the class was represented by very competent attorneys of
national repute as specialists in the area of complex litigation. As such, Class Counsel brought
considerable resources to the Plaintiffs’ cause. The Court has had the opportunity to observe
Class Counsel first-hand during the course of this litigation and finds that these attorneys
provided excellent representation to the Class. The Court specifically notes that, at every phase
of the litigation, Class Counsel demonstrated professionalism, preparedness and diligence in
pursuing their cause.”

In In re: Orthopedic Bone Screw Products Liability Litigation, MDL No. 1014 (E.D. Pa.)
(Plaintiffs’ Lead Counsel), the Court stated: “the Court also finds that the standing and expertise
of counsel for [plaintiffs] is noteworthy. First class counsel is of high caliber and most PLC
members have extensive national experience and similar class-action litigation.”

In In re: Consumer Bags Antitrust Litigation, Civil Action No. 77-1516 (E.D. Pa.) (Plaintiffs’
Lead Counsel), Judge Louis Bechtel stated that “Each of the firms and the individual lawyers in
this case have extensive experience in large, complex antitrust and securities litigation.”
Furthermore, the Court notes that the quality of the legal services rendered was of the highest
caliber.

In In re: Diet Drugs Product Liability Litigation, MDL No. 1203 (E.D. Pa.) (Plaintiffs’ Co-Lead
Counsel), the the court stated: “The Court recognized the ‘remarkable contribution’ from Levin
Sedran & Berman in the creation of the largest nationwide personal injury settlement to date.”




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In In re: Summers v. Abraham Lincoln Savings and Loan Association, 66 F.R.D. 581, 589 (E.D.
Pa.), the court stated: “There is no question that Plaintiff’s counsel is experienced in the conduct
of the class action . . .”.

In certifying the class in Weiss v. York Hospital, Judge Muir found that “plaintiff’s counsel are
experienced in the conduct of complex litigation, class actions, and the prosecution of antitrust
matters.” Weiss v. York Hospital, No. 80-0134, Opinion and Order of May 28, 1981 at 4 (M.D.
Pa. Mar. 1981). See also, Weiss v. York Hospital, 628 F. Supp. 1392 (M.D. Pa. 1986).

         Austin Cohen a member of LSB will be working with Mr. Schaffer. Mr. Cohen has been
practicing commercial litigation for nearly 20 years, specializing in antitrust class actions.
During that time, as a member of LSB, he has served with Co-Lead Counsel in numerous
complex class actions. He recently served with Levin Sedran & Berman on the Executive
Committee in In re Target Corporation Customer Data Security Breach Litigation, MDL 2522
(D. Minn.), representing a class of financial institutions seeking to recover costs due to Target
Corporation's failure to implement proper data security protocols. Mr. Cohen also served with
Levin Sedran and Berman as Co-Lead Counsel in In re Air Cargo Shipping Services Antitrust
Litigation, MDL 1775 (E.D.N.Y.), representing a class of air freight shippers alleging
international air cargo carriers conspired to fix prices and surcharges. Settlements in that
litigation exceeded $1.25 billion.

         Mr. Cohen has served as a lecturer at professional conferences and has written published
articles regarding the admissibility of subsequent remedial modifications in products liability
litigation (68 Pa. B.A.Q. 93), the enforceability of litigation confidentiality agreements (71 Pa.
B.A.Q. 93), and federal tax issues related to the tax-exempt financing of University sponsored
research facilities (23 The Exempt Organization Tax Review 445). Mr. Cohen has been rated as
a Pennsylvania antitrust "SuperLawyer" and is AV Peer Review rated by Martindale Hubble. Mr.
Cohen is licensed to practice in Pennsylvania and New Jersey.

                       Charles Schaffer’s Class Action Appointments

Case                                                                    Role
In re JP Morgan Modification Litigation, MDL No. 2290 (D.C.             Co-lead counsel
Mass.)
Kowa, et. el. v. The Auto Club Group AKA AAA Chicago, No.               Co-lead counsel
1:11-cv-07476 (N.D. Ill.)
In re IKO Roofing Products Liability Litigation, MDL No. 2104           Co-lead counsel
(C.D. Ill.)
Yarbrough v. Martin’s Famous Pastry Shoppe, Inc., Civil No. 11-         Co-lead counsel
cv-02144-JEJ (M.D. Pa.)
Minor v. Congoleum Corporation, Civil Action No.: 3:13-cv-              Co-lead counsel
07727-JAP-LHG (D.C. NJ)
Davis v. SOH Distribution Company, Inc., Case No. 09-CV-237             Co-lead counsel
(M.D. Pa.)
Meneghin, v. The Exxon Mobile Corporation, et al., Civil Action         Co-lead counsel
No. OCN-002697-07 (Superior Court, Ocean County, NJ 2012)



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Gwaizdowski v. County of Chester, Civil Action No. 08-CV-4463          Co-lead counsel
(E.D. Pa. 2012)
In re Pergerine Financial Group Customer Litigation, MDL No.           Assisted lead counsel, de
12-5546 (N.D.Ill.)                                                     facto committee member
In re MF Global Holdings LTD. Investment Litigation, No. 12-MD         Assisted lead counsel, de
-2338 (S.D.N.Y.)                                                       facto committee member
In re CertainTeed Corporation Roofing Shingles Products                Discovery Committee
Liability Litigation, MDL No. 1817 (E.D. Pa.)                          Settlement Committee
Gulbankian et. al. v. MW Manufacturers, Inc., Case No. 1:10-cv-        Executive Committee
10392-RWZ (D.C. Mass.)
Eliason, et al. v. Gentek Building Products, Inc., et al., Case No.    Executive Committee
1:10-cv-2093 (N.D. Ohio)
Melillo, et al. v. Building Products of Canada Corp., Civil Action     Executive Committee
No. 1:12-CV-00016-JGM (D. Vt. Dec. 2012)
In re Wells Fargo Insurance Marketing Sales Practices Litigation,      Executive Committee
MDL No. 2797 (C.D.Ca.)
In re: Citimortgage, Inc. Home Affordable Modification Program         Executive Committee
(“HAMP”) MDL No. 2274 (C.D. Ca.)
In re HardiePlank Fiber Cement Siding Litigation, MDL No. 2359         Executive Committee
(D.C. Minn.)
In re Navistar Diesel Engine Products Liability Litigation, MDL        Executive Committee
No. 2223 (N.D. Ill.)
In re Azek Decking Sales Practice Litigation, No. 12-6627 (D. NJ)      Executive Committee
In re Pella Corporation Architect and Designer Series Windows          Executive Committee
Marketing Sales Practices and Product Liability Litigation, MDL
No. 2514 (D.C. SC)
In re Citimortgage, Inc. Home Affordable Modification Program          Executive Committee
(“HAMP”), MDL No. 2274 (C.D. Ca.)
In re Carrier IQ Consumer Privacy Litigation, MDL No. 2330             Executive Committee
(N.D. Ca.)
In re Dial Complete Marketing and Sales Practices Litigation,          Executive Committee
MDL No. 2263 (D. NH)
In re Emerson Electric Co. Wet/Dry Vac Marketing and Sales             Executive Committee
Litigation, MDL NO. 2382 (E.D. Miss.)
In re Colgate-Palmolive Soft Soap Antibacterial Hand Soap              Executive Committee
Marketing and Sales Practice Litigation, (D. NH)
In re Navistar Diesel Engine Products Liability Litigation, MDL        Steering Committee
No. 2223 (N.D. Ill.)
Vought, et al., v. Bank of America, et al., No. 10-CV-2052 (C.D.       Discovery Committee
Ill. 2013)                                                             Settlement Committee
United Desert Charities, et al. v. Sloan Valve, et al., Case No. 12-   Executive Committee
cv-06878 (C.D. Ca.)
 Gold v. Lumber Liquidators, Inc., No. 3:14-cv-05373 (N.D.Ca.)         Executive Committee
In re CertainTeed Fiber Cement Siding Litigation, MDL 2270             Discovery Committee
(E.D. Pa. 2014)                                                        Settlement Committee




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                            Whitfield Bryson & Mason, LLP

      With offices located in Washington, D.C., Raleigh, North Carolina,

Madisonville, Kentucky, and Nashville, Tennessee, Whitfield Bryson & Mason

LLP is dedicated to representing plaintiffs in class actions, mass torts and

individual actions in courts throughout the United States. Founded in January

2012, the firm was created by a merger of three firms with decades of experience

representing plaintiffs in some of the largest and most complex class action cases

in the country. Whitfield Bryson & Mason has recovered more than $1.5 billion for

its clients and has received high recognition from Super Lawyers, Martindale-

Hubbell, Law Dragon, Benchmark Litigation, U.S. News and World Report, Public

Justice, Business North Carolina magazine, and Washingtonian magazine.

      Some examples of Gary Mason’s most relevant and significant class and

collective cases include:

Case & Judge presiding                    Role & Results
In re Google Buzz Privacy Litigation,     Co-lead counsel for class plaintiffs.
No. 5:10-cv-00672 (N.D. Cal) (J.          Obtained settlement valued by the
Ware)                                     Court at $8.5 million.
In re: Dept. of Veterans Affairs (VA)     Co-lead counsel for plaintiffs.
Data Theft Litig., No. 1: 2006-cv-        Obtained settlement of approximately
00506, MDL 1796 (D.D.C.) (J.              $20 million and additional cy pres
Robertson)                                awards.
In re: Adobe Systems Inc. Privacy         Co-lead counsel for class plaintiffs.
Litigation, No. 5:13-cv-05226 (N.D.       Obtained settlement requiring
Cal. 2015) (J. Koh)                       enhanced cyber security measures and
                                          audits.
Galanti v. Goodyear Tire & Rubber         Co-lead counsel for class plaintiffs.



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Co., No. 03-209 (D.N.J. 2003) (J.          Obtained settlement of $330 million.
Maloan)
Stillman v. Staples, Inc., Civil No. 07-   Co-lead counsel for FLSA collective
849 (D.N.J. 2009) (M.J. Schwartz)          action. Plaintiffs’ trial verdict for $2.5
                                           million; national settlement approved
                                           for $42 million.
Craig v. Rite Aid Corporation, Civil       Co-lead counsel for FLSA collective
No. 08-2317 (M.D. Pa.) (J. Carlson)        action and class action plaintiffs.
                                           Obtained settlement of $20.9 million.
Staton v. IMI South, et al. (Ky. Cir.      Co-lead counsel for class plaintiffs.
Ct.)                                       Obtained settlement of $30 million.
Lubitz v. Daimler Chrysler Corp., No.      Co-lead counsel for plaintiffs.
L-4883-04 (Bergen Cty. Super. Ct, NJ       Obtained settlement of $12 million.
2006) (J. Moses)
Sutton, et al. v. The Federal Materials    Co-lead counsel for class plaintiffs.
Company, Inc., et al, No. 07-CI-00007      Obtained settlement of $10.1 million.
(Kty. Cir. Ct)
Nichols v. Progressive Direct              Co-lead counsel for class plaintiffs.
Insurance Co., et al., No. 2:06-cv-146     Obtained settlement of $3.75 million.
(E.D. Ky.) (J. Bunning)

      Whitfield Bryson & Mason associate Jennifer S. Goldstein will assist Mr.

Mason in this litigation. Ms. Goldstein is an associate in WBM’s Washington,

D.C. Office and focuses her practice on privacy and consumer product class action

lawsuits. She has previously supported Mr. Mason in his capacity as Liaison

Counsel in In Re: U.S. Office of Personnel Management Data Security Breach

Litigation, No. 15-1393, MDL No. 2664 (D.D.C.), an ongoing case concerning the

largest data breach involving the United States Government.


      Ms. Goldstein joined Whitfield Bryson & Mason in 2016 after serving as

Special Assistant to the Office of the Attorney General for the District of




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Columbia; there, she defended the District and District agencies against

employment, personal and intention tort, Section 1983, and constitutional law

claims. She received her law degree from Georgetown University Law Center,

where she edited and published an article in the Georgetown Journal of Gender and

the Law and won the 2014 UCLA School of Law Williams Institute Moot Court

Competition on behalf of the Georgetown University Law Center Barrister’s

Counsel.


      Ms. Goldstein’s pro bono work has included: briefing and arguing a federal

inmate’s appeal before the U.S. Court of Appeals for the District of Columbia;

drafting name and gender change requests for transgender individuals in need; and

submitting U-Visa applications and civil protection orders for indigent survivors of

violence.




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CINCINNATI, OHIO 45202                                               WWW.GS-LEGAL.COM

       GOLDENBERG SCHNEIDER, L.P.A. was founded in 1996 and focuses on prosecuting
actions primarily on behalf of plaintiffs in complex civil litigation and class actions. The subject
matter of the Firm’s past and current representations is broad, ranging from privacy protection
actions to employment and labor cases that include ERISA, FLSA, and discrimination, to actions
for antitrust and securities violations. The firm’s attorneys are experienced in every level of the
state and federal judicial systems in Ohio and the country, including specialized courts.
       The Firm has demonstrated its capability to successfully represent governmental entities,
corporations, and individuals in the most complex of litigation.           Founding partner Jeff
Goldenberg served as special counsel to the Ohio Attorney General in prosecuting Ohio’s
Medicaid recoupment action against the tobacco industry and has served as lead or co-lead
counsel on numerous nationwide class actions. The tobacco Medicaid recoupment litigation
settled in 1999, resulting in a recovery to the State of Ohio of more than $9.86 billion. Ohio and
its citizens continue to benefit from the tobacco industry’s historic concessions regarding youth
smoking, advertising restrictions, and reformation of industry corporate culture. Factoring in the
substantial, if not immeasurable non-economic components of the settlement, which curb youth
smoking and addiction, the settlement proceeds also are a multiple of twelve times larger than
the prior largest Ohio-based settlement.
       Class actions in which one or more of the Firm’s attorneys have acted as class counsel
include the following:
    In Re: Veterans’ Administration Data Theft Litigation – Goldenberg Schneider served as
       co-lead counsel for a nationwide class of 28.5 million veterans and current members of
       the military who were impacted by the August 2006 theft of personal data. Multiple
       actions were consolidated by the Panel on Multidistrict Litigation and sent to the Federal
       District Court in the District of Columbia. This action was successfully resolved with a
       $20,000,000 settlement.




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 Estep v. J. Kenneth Blackwell, Ohio Secretary of State – Goldenberg Schneider served as
   co-lead counsel on this class action against former Ohio Secretary of State, Ken
   Blackwell, based upon a violation of privacy rights when personal information was
   unlawfully disclosed in public records accessible through the Secretary’s website. The
   settlement required the Secretary of State to dramatically improve the protection of social
   security numbers.
 In Re: Ford Motor Co. Spark Plug and 3-Valve Engine Products Liability Litigation –
   Goldenberg Schneider serves as co-lead counsel for a national class comprised of
   approximately 4 million Ford vehicle owners who purchased or leased vehicles
   containing a 5.4 liter 3-valve engine equipped with defective spark plugs and related
   engine defects. On January 26, 2016, after Plaintiffs had defeated Ford’s motion for
   summary judgment, Judge Benita Pearson of the Northern District of Ohio granted final
   approval of a nationwide settlement that will provide reimbursement to class members for
   expenses related to spark plug replacement.
 Bower v. MetLife – Goldenberg Schneider served as co-lead class counsel on behalf of a
   nationwide class of beneficiaries of the Federal Employees Group Life Insurance
   (FEGLI) Policy, the world’s largest group life insurance program. Following Judge
   Sandra Beckwith’s Order certifying the nationwide Class, the case was settled in 2012 for
   $11,500,000.
 In Re: OSB Antitrust Litigation – Goldenberg Schneider served on the trial team in a case
   that alleged illegal collusion and cooperation among the oriented strand board industry.
   The case was resolved through a series of settlements that collectively exceeded
   $120,000,000.
 City of Cincinnati Pension Litigation – Goldenberg Schneider and its co-counsel, with
   the assistance of U.S. District Court Judge Michael Barrett, successfully resolved a series
   of cases relating to the City of Cincinnati Retirement System, known as the CRS. Judge
   Barrett granted final approval of the historic and landmark Settlement Agreement on
   October 5, 2015.     The settlement comprehensively reforms the CRS, establishes a
   consistent level of City funding, and reinstates several key provisions that were
   eliminated in 2011 changes for employees who were vested in the plan at that time. The




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   settlement benefits for the Current Employees Class members, for whom Goldenberg
   Schneider was approved as Class Counsel, are valued at approximately $50 million.
 Continental Casualty Long Term Care Insurance Litigation – Goldenberg Schneider
   served as co-lead counsel for a nationwide class of tens of thousands of individuals who
   purchased long term care policies from Continental Casualty (CNA). The lawsuit claimed
   that Continental Casualty wrongfully denied coverage for elderly policyholders. The
   case was successfully resolved with a settlement valued at approximately $26,000,000.
 Cates v. Cooper Tire & Rubber Company/ Johnson v. Cooper Tire & Rubber Company –
   Goldenberg Schneider served as co-lead counsel for a class of more than a thousand
   Cooper Tire retirees who claimed that they were entitled to lifetime health care benefits
   from the company. Goldenberg Schneider secured a judgment on the pleadings, certified
   the class, and ultimately resolved the case through a settlement valued at over
   $50,000,000.
 In Re: Consolidated Mortgage Satisfaction Cases – Goldenberg Schneider served as lead
   counsel on behalf of Ohio homeowners against some of the largest national and Ohio
   banking and lending institutions for their failure to timely record mortgage loan payoffs.
   The Firm was able to consolidate all twenty actions before one trial judge and
   successfully upheld all the class certifications before the Ohio Supreme Court. These
   cases were resolved through multiple settlements valued at millions of dollars.
 In re: Verizon Wireless Data Charges Litigation – Goldenberg Schneider filed the first
   nationwide class action challenging Verizon Wireless’ improper $1.99 data usage charges
   to certain pay-as-you-go customers. Goldenberg Schneider, as a member of the Plaintiffs
   Advisory Committee, played an active role in this litigation which resulted in benefits to
   the Class in excess of $50,000,000 in refunds and reimbursement payments.
 Daffin v. Ford Motor Company – Goldenberg Schneider and its co-counsel successfully
   certified an Ohio statewide class on behalf of all Ohio purchasers or lessors of 1999 and
   2000 model year Mercury Villager Minivans. The U.S. Court of Appeals for the Sixth
   Circuit upheld the class certification, and the case was resolved through a settlement.
 Meyer v. Nissan North America – Goldenberg Schneider served as co-lead counsel on
   behalf of thousands of Nissan Quest minivan owners throughout the United States. The
   suit alleged that the Quest minivan developed dangerous levels of carbon deposits in the




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   accelerator system causing the gas pedal to stick, resulting in a roadway safety hazard
   including documented accidents and injuries. The case was resolved by a nationwide
   settlement that included the application of the vehicle warranty to remedy the problem as
   well as a refund of prior repair costs.
 Parker v. Berkeley Premium Nutraceuticals – Goldenberg Schneider served as co-lead
   counsel and certified three nationwide classes in a consumer fraud class action on behalf
   of purchasers of herbal supplements for false and unproven claims and deceptive credit
   card charging practices. This case was successfully resolved with a multi-million dollar
   settlement. Moreover, class members retained all rights to recover a portion of the nearly
   $30 million that the U.S. Attorney General seized in a civil forfeiture action. Goldenberg
   Schneider eventually recovered an additional $24,000,000 for the victims by prosecuting
   a successful Petition for Remission through the federal forfeiture proceedings.
 Continental Casualty Long Term Care Insurance Litigation (“Daluge Settlement”) -
   Goldenberg Schneider serves as class counsel in this litigation on behalf of certain CNA
   Connecticut policyholders whose claims for stays at Managed Residential Care facilities
   were wrongly denied. The Federal District Court in Connecticut certified this case as a
   class action in 2015 and recently granted preliminary approval to a class action settlement
   providing both damages and injunctive relief to the Class.
 Carnevale FLSA Class Action – Goldenberg Schneider served as co-lead counsel on
   behalf of employees working for a large industrial company that alleged violations of
   federal and state labor laws through the systematic misclassification of managers and
   other employees as salaried professionals. This case was successfully resolved through
   the implementation of a multi-million dollar settlement.
 Brenneman v. Cincinnati Bengals, Inc. – Goldenberg Schneider served as co-lead counsel
   in an FLSA collective action and Rule 23 class action on behalf of Cincinnati Bengals
   cheerleaders who were improperly denied minimum wages. The case was successfully
   resolved through mediation, which resulted in the creation of a $425,000 settlement fund.




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The following lawyers at Goldenberg Schneider, L.P.A. will participate in this litigation:

       JEFFREY S. GOLDENBERG, one of the firm’s most senior lawyers with 24 years of
experience, served as lead and/or co-counsel in numerous multi-million dollar complex civil
cases throughout the United States, including Veterans Data Theft Litigation, Ford Spark Plug
Litigation, Metlife FEGLI Litigation, Oriented Strand Board Antitrust Litigation, Continental
Casualty Long Term Care Insurance Litigation, City of Cincinnati Pension Litigation, Enzyte
Consumer Fraud Litigation, Carnevale FLSA Litigation, Styrene Railway Car Litigation, Ford
and Nissan Auto Defect litigation, and Clayton Home Sales Tax Litigation. Jeff presently serves
as lead or co-counsel on Ford Spark Plug Litigation, Google Wiretapping Litigation, and Credit
Life Insurance Litigation. Jeff also served as Special Counsel representing the State of Ohio
against the Tobacco industry and was part of the litigation team that achieved an unprecedented
$9.86 billion settlement for Ohio taxpayers. He also served as lead counsel on the In re
Consolidated Mortgage Satisfaction Cases involving twenty separate class actions. That
litigation resulted in a significant Ohio Supreme Court decision defining key aspects of Ohio
class action law.


       Todd B. Naylor, with 20 years of experience, has represented the State of Ohio in a
securities lawsuit relating to the merger of Exxon and Mobil. Mr. Naylor has also represented
multiple states, including Connecticut, in pharmaceutical pricing litigation. Mr. Naylor served
on the trial team in antitrust litigation involving the oriented strand board industry that resulted in
an aggregate settlement of over $120,000,000. Mr. Naylor presently serves as lead and/or co-
counsel in numerous multi-million dollar complex civil litigation cases throughout the State of
Ohio and nationwide, including the Ford F-150 spark plug defect litigation and the credit life
insurance litigation.


       Robert B. Sherwood, with 15 years of experience, has served as a member of legal teams
prosecuting multi-million dollar antitrust class actions, including In re Dynamic Random Access
Memory (DRAM) Antitrust Litigation, No.M-02-1486 (N.D. Cal.); In re Carbon Black Antitrust
Litigation, MDL No. 1543 (D. Mass.); In re OSB Antitrust Litigation, No. 06-826 (E.D. Pa.); and
In re Mercedes Benz Antitrust Litigation, No. 99-4311 (D. N.J.).




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                                   Attorneys’ Fee Awards in Large Data Breach Class Actions

       Case &                          Settlement Benefits                          Attorneys’ Fee Award & Basis for Award
   Breach Type
In re: Anthem, Inc.   $115 million non-reversionary settlement fund, to be     Requested Award: $37.95 million (court approval of
Data Breach Litig.,   used for the following:                                  fee is pending; hearing set for February 1, 2017).
No. 15-md-02617       • $17 million payment to vendor to provide credit
(N.D. Cal.).             monitoring for 2-4 years for 80 million class         Per Plaintiffs’ Fee Brief: Fee represents 33% of $115
                         members. See Settlement Agreement ¶ 4.6 (Dkt.         million aggregate settlement value, consisting of:
Hackers stole 80         #869-8); Prelim. Approval Brf. at 1, 8 (Dkt. #869-    (1) $17 million payment to credit monitoring vendor;
million Social           5).                                                   (2) $13 million cash fund for alternate compensation
Security numbers      • $13 million cash fund for alternate compensation       in lieu of credit monitoring; (3) $15 million cash fund
and other personal       in lieu of credit monitoring. See Prelim. Approval    for reimbursement of out-of-pocket costs; (4) $5.5
information.             Brf. at 9 (Dkt. #869-5); Settlement Agreement ¶¶      million for additional credit monitoring and/or
                         3.2, 5.3 (Dkt. #869-8).                               charitable contribution; (5) $23 million notice and
                      • $15 million cash fund for reimbursement of out-of-     claims administration costs; (6) $37.95 million
                         pocket losses including: 1) fraud losses, 2)          attorney fees;
                         protective measures, and 3) time spent remedying      (7) $3 million litigation expenses; (8) $597,500
                         misuse of data related to breach. See Prelim.         Plantiffs’ service awards. See Fee Brief at 1, 3-4, 15-
                         Approval Brf. at 1, 9-10 (Dkt. #869-5); Settlement    16 (Dkt. #916-6); Prelim. Approval Brief at 1, 5, 9-12
                         Agreement ¶ 1.23 (Dkt. #869-8).                       (Dkt. #869-5); Settlement Agreement ¶¶ 3.2, 4.6, 4.8,
                      • $5,452,500 fund for additional credit monitoring       5.3, 7.1, 11.1, 12.1 (Dkt. #869-8).
                         and/or charitable contribution.        See Prelim.
                         Approval Brf. at 11-12 (Dkt. #869-5); Settlement      Fee represents a 1.1 lodestar multiplier. Fee Brf. at 1,
                         Agreement ¶¶ 4.8, 7.1 (Dkt. #869-8).                  17-20 (Dkt. #916-6).
                      • $23 million notice and claims administration costs.
                         See Prelim. Approval Brf. at 10 (Dkt. #869-5).
                      • $37,950,000 Plaintiffs’ attorneys’ fees. See Prelim.
                         Approval Brf. at 11 (Dkt. #869-5); Settlement
                         Agreement ¶ 12.1 (Dkt. #869-8).
                      • $3 million Plaintiffs’ litigation expenses. See
                         Prelim. Approval Brf. at 11 (Dkt. #869-5);
                         Settlement Agreement ¶ 12.1 (Dkt. #869-8).



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    Case &                            Settlement Benefits                          Attorneys’ Fee Award & Basis for Award
  Breach Type
                     •   $597,500 Plaintiffs’ service awards. See Prelim.
                         Approval Brf. at 5, 11 (Dkt. #869-5); Settlement
                         Agreement ¶ 11.1 (Dkt. #869-8).

                     Injunctive relief via enhanced data security for 3 years.
                     Injunctive relief is not included in $115 million
                     settlement value. See Prelim. Approval Brf. at 1, 6-7
                     (Dkt. #869-5); Fee Brf. at 5-6 (Dkt. #916-6).
In re: The Home      $13 million cash fund to compensate for out-of-pocket Award: $7.53 million.
Depot, Inc.          costs and/or time spent responding to breach. See
Customer Security    Settlement Agreement ¶ 28; Fee Brf. at 3 (Dkt. #227-1). Fee award represented 28% of $27 million aggregate
Breach Litig., No.                                                             settlement value, consisting of:
14-md-02583          $6.5 million payment to vendor provide 18 months (1) $13 million cash fund; (2) $6.5 million payment to
(N.D. Ga.).          of “identity protection” services (similar to credit vendor for identity protection services; and, (3)
                     monitoring) for all class members. See Settlement $7,536,497 attorneys’ fee award. See Fee Brf. at 41
Hackers stole        Agreement ¶ 28; Fee Brf. at 3-4 (Dkt. 227-1).             (Dkt. #227-1); Fee Order at 3-4 (Dkt. #261).
credit/debit card
numbers for 40       Injunctive relief via enhanced data security for 2 years. Court stated fee was reasonable even without taking
million consumers,   See Settlement Agreement ¶ 31; Fee Brf. at 4-6 (Dkt. into account the “retail value” of the identity theft
and email            227-1).                                                   monitoring “made available to the Class (which has a
addresses for 53                                                               market value of $180 per enrollee).” See Fee Order at
million consumers.                                                             3-4 (Dkt. #261).

                                                                            Court awarded a lodestar multiplier of 1.3. See Fee
                                                                            Order at 3-4 (Dkt. #261).
In re Target Corp.   $10 million common fund (non-reversionary) to Award: $6.75 million.
Customer Data        compensate class members for out of pocket costs and
Security Breach      time spent addressing fraudulent charges. Target, 2015 Fee award represented 29% of $23.3 million
Litig., No. MDL      WL 7253765, at *1.                                     aggregate settlement value, consisting of:
14-2522, 2015 WL                                                            (1) $10 million cash fund; (2) $6.57 million notice and
7253765 (D. Minn.    Injunctive relief via enhanced data security. Target, claims administration costs; and, (3) $6.75 million



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     Case &                            Settlement Benefits                         Attorneys’ Fee Award & Basis for Award
  Breach Type
Nov. 17, 2015).        2015 WL 7253765, at *1.                                attorneys’ fees. See Target, 2015 WL 7253765, at *2-
                                                                              3; see also Fee Brf. at 27 (Dkt. #482).

Hackers stole                                                                 Fee award represented a .74 lodestar multiplier.
credit/debit card                                                             Target, 2015 WL 7253765, at *3.
numbers for 40
million consumers,
and names,
addresses, email
addresses and
phone numbers for
70 million
consumers.
St. Joseph Health   $7.5 million cash fund to be divided among all class Award: $6.87 million.
System Medical      members. See Settlement Agreement ¶ 2.1; Settlement
Info. Cases, Case   Notice pg. 1.                                         Fee award represented 17% of $39.5 million
No. JCCP 4716                                                             aggregate settlement value, consisting of: (1) $7.5
(Cal. Superior Ct., $3 million claims-made fund to reimburse identity million cash fund; (2) $3 million claims-made fund;
Orange County).     theft losses and out-of-pocket expenses. Id.          (3) $4.5 million retail value of credit monitoring
                                                                          offered; (4) $13 million value of injunctive relief; (5)
Medical info. for   Credit monitoring for 1 year offered to all class $169,032 notice and claims administration costs; (6)
32,000 patients was members, with retail value of $4.5 million. Id.; $6,877,309 attorneys’ fee award; and, (7) $403,657
publicly accessible Settlement Agreement ¶ 2.4.                           litigation costs. See Fee Order at 4-5; Settlement
on internet for 1                                                         Agreement ¶¶ 2.1, 2.4.
year.               Injunctive relief via enhanced data security measures
                    (estimated value of $13 million). Id.                 Fee represented a 1.22 lodestar multiplier. Id. at 4-5.

In re TJX Cos.         $18 million claims-made fund to pay up to: (i) $10 Award: $6.5 million.
Retail Security        million for class members who self-certify that they
Breach                 incurred out-of-pocket costs or lost time; (ii) $7 million Fee award was based on percentage-of-fund method
Litig., 584 F. Supp.   for class members who submit documentary evidence for credit monitoring only (not claims-made fund),



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       Case &                            Settlement Benefits                           Attorneys’ Fee Award & Basis for Award
   Breach Type
2d 395 (D. Ma.         of out-of-pocket costs or lost time; and (iii) $1 million and lodestar analysis.
2008)(Hackers          for reimbursement of actual identity theft charges. TJX,
stole credit card      584 F. Supp. 2d at 400-01, 408-09. These benefits were Court declined to include $18 million claims-made
numbers for 45         offered to 45 million class members.                      fund in its fee analysis. Id. at 401, 408-09.
million consumers,
and driver’s license   Two years of credit monitoring and identity theft $6.5 million fee award represented 3.7% of $177
numbers (which in      insurance beyond TJX’s original one year offer. This million retail value of credit monitoring made
some cases             benefit was offered to 455,000 class members. Id. at available to class.
matched Social         400.
Security numbers)                                                                Court stated it is “comfortable categorizing this
for 455,000            Injunctive relief via enhanced data security. Id. at 401. litigation as creating $177,000,000 in potential [credit
consumers).                                                                      monitoring] benefits for the class using this figure as a
                                                                                 benchmark against which to measure the award of
                                                                                 attorneys’ fees.” Id. at 409.

                                                                                Court approved 1.97 lodestar multiplier. Id. at 408.
In re Dept. of         $20 million common fund used for: 1) reimbursement Award: $3.6 million.
Veterans Affairs       of out-of-pocket costs for 26.5 million class members,
(VA) Data Theft        2) cy pres payment based on claims rate, 3) attorneys’ Fee award was based on percentage-of-fund method
Litig., 653 F. Supp.   fees and costs, and 4) notice and claims administration with lodestar cross-check. Id. at 60-61.
2d 58 (D. D.C.         costs. Dept. of Veterans Affairs, 653 F. Supp. 2d at 59;
2009)(Thief stole      see also Settlement Agreement ¶ 1-4 (Dkt. 53-2).         Fee award represented 18% of $20 million aggregate
hard drive from                                                                 common fund, which was used for: 1) cash payments
government             Fund was non-reversionary, with unclaimed funds to class members; 2) cy pres payment; 3) attorneys’
employee’s house       donated to charity. Id. at *59.                          fees and costs; and 4) notice and claims admin costs.
which contained                                                                 Id. at 61.
Social Security
numbers, dates of                                                                 Court declined objector’s request to base fee solely on
birth, and names                                                                  amount of funds claimed by class members. Court
for 26.5 million                                                                  noted that the “national trend . . . is toward awards that
class members).                                                                   represent a percentage of the total common fund, even



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     Case &                            Settlement Benefits                            Attorneys’ Fee Award & Basis for Award
   Breach Type
                                                                                 when some portion of that fund will go to a cy pres
                                                                                 beneficiary.” Id. at 60.

                                                                                 Court approved a 2.0 lodestar multiplier. Id. at 61.
In re Countrywide     $6.5 million claims-made fund to reimburse up to: (1)      Award: $3.5 million.
Fin. Corp.            $5 million in identity theft losses for 17 million class
Customer Data         members; and (2) $1.5 million in out-of-pocket costs       Fee award was based on percentage-of-fund method
Security Breach       for 2.4 million class members. Countrywide, 2010 WL        with lodestar cross-check. Countrywide, 2010 WL
Litig., No. 3:08-     3341200, at *9 (final approval order); In re               3341200, at *9-10.
MD-01998-TBR,         Countrywide Fin. Corp. Customer Data Security
2010 WL 3341200       Breach Litig., No. 3:08-MD-01998-TBR, 2009 WL         Fee award represented 20% of $17 million aggregate
(W.D. Ky. Aug.        5184352, at *8 (W.D. Ky. Dec. 22, 2009) (preliminary  settlement value, consisting of: (1) $6.5 million
23,                   approval order).                                      claims-made fund; (2) $7 million in anticipated credit
2010)(Employee                                                              monitoring claims using an estimated claims rate of
sold customers’       Two years of credit monitoring offered to 1.9 million 10% of 1.9 million class members; and, (3) $3.5
Social Security       class members. Countrywide, 2010 WL 3341200, at million attorneys’ fees paid separately by
numbers, bank         *9.                                                   Countrywide. Id. at *9.
account                                                                     Alternatively stated, $3.5 million fee award totaled
information, and      Injunctive relief via enhanced data security. 50% of anticipated credit monitoring claims, and
other information     Countrywide, 2009 WL 5184352, at *8.                  54% of claims-made fund.
to third parties).
                                                                             Court approved a 1.2 lodestar multiplier. Id. at *11.
Sony Gaming           $15 million in benefits via claims-made fund Award: $2.75 million.
Networks and          consisting of: (1) $14 million in non-cash games and
Customer Data         services available to 60 million Sony PlayStation Court did not explain its basis for attorneys’ fee
Security Breach       network users; and (2) $1 million in cash to reimburse award. See Sony Gaming Networks and Customer
Litig.,No. 11-md-     documented identity theft losses. See Defs.’ Final Data Security Breach Litig., No. 11-md-2258, slip op.
2258, slip op. at ¶   Approval Brf. at 7, 9 (Dkt. #208).                     at ¶ 13 (S.D. Cal. May 4, 2015).
13 (S.D. Cal. May
4, 2015)(Hackers      Class members could choose from mix of free games or Per Plaintiffs’ fee brief: Plaintiffs sought fee via
stole credit card     3-month subscription to Sony PlayStation service. Id. lodestar method only, not percentage-of-fund method.



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      Case &                            Settlement Benefits                           Attorneys’ Fee Award & Basis for Award
   Breach Type
numbers and other      at 16.                                                    See Pltfs.’ Final Approval Brf. at 3, 22 (Dkt. #204-1).
accountholder
information).                                                                     Fee award represented a .8 lodestar multiplier. Id. at
                                                                                  3, 22.
Lockwood v.            $5 million claims-made fund to reimburse up to: (1) Award: $2.35 million.
Certegy Check          $4 million in identity theft losses; and (2) $1 million in
Svcs., Inc., No. 07-   other out-of-pocket costs. This benefit was available to Fee award was based on percentage-of-fund method
cv-1434, slip op. at   37 million class members. See Pltf.’s Final Approval with lodestar cross-check. Lockwood v. Certegy
9 n.4 (M.D. Fla.       Brf., Dkt. #88, at 1, 7-8.                                 Check Svcs., Inc., No. 07-cv-1434, slip op. at 9 n.4
Sept. 3,                                                                          (M.D. Fla. Sept. 3, 2008); accord Tr. of Final
2008)(Employee         One year of credit monitoring and two years of bank Approval Hearing at 23:5-9 (Dkt. #103).
sold customers’        account monitoring made available to 4.25 million
checking account       class members. Id. at 4-6.                                 Court analyzed fee based on amount of credit
numbers, credit                                                                   monitoring/bank account monitoring actually claimed
card numbers,          Injunctive relief via enhanced data security. Id. at 8-9.  by class members, not merely made available to class.
dates of birth, and                                                               Id. at 9 n.4. Retail value of credit/bank account
other information                                                                 monitoring actually claimed by class totaled $4.4
to third parties for                                                              million. Id. $2.35 million attorneys’ fee represented
marketing                                                                         53% of $4.4 million value of credit/bank account
purposes).                                                                        monitoring actually claimed by class. Court did not
                                                                                  address whether $5 million claims-made fund
                                                                                  impacted the fee award.

                                                                            Court approved a 1.86 lodestar multiplier. See Tr. of
                                                                            Final Approval Hearing at 23:5-9 (Dkt. #103); accord
                                                                            Pltf.’s Final Approval Brf. at 22 (Dkt. #88).
In re Michaels         $600,000 settlement fund to: (i) reimburse out-of- Award: $1.2 million.
Stores Pin Pad         pocket costs, and (ii) fund 1-2 years of credit
Litig., No. 11-cv-     monitoring for 95,000 class members. See Pltfs.’ Fee Court did not explain its basis for fee award. In re
03350, slip op. ¶ 7    Brf. at 3 (Dkt. #103).                               Michaels Stores Pin Pad Litig., No. 11-cv-03350, slip
(N.D. Ill. Apr. 17,                                                         op. ¶ 7 (N.D. Ill. Apr. 17, 2013).



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       Case &                        Settlement Benefits                         Attorneys’ Fee Award & Basis for Award
   Breach Type
2013) (Hackers       Non-reversionary fund where unclaimed funds were Per Plaintiffs’ Fee Brief: $1.2 million fee totaled
stole credit card    donated to charity.                                     7.5% of $16 million value of 1 yr. of credit
numbers for 3                                                                monitoring made available to class. See Pltfs.’ Fee
million consumers)   Injunctive relief via enhanced data security. Id. at 4. Brf. at 6 (Dkt. #103).

                                                                            Fee represented a 1.27 lodestar multiplier. Id. at 15.




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                                       Lukasz Lenart
Lukasz Lenart is an application developer in a wide variety of business applications, particularly
experienced in client/server and relational database design using Java. His specialties include social
insurance, automotive, production, purchasing, and banking. He has been the Lead Developer on the
Apache Struts project since 2011. He holds a Bachelor of Computer Systems with an emphasis on
Information Systems from the Academy of Computer Science and Management in Bielsko-Biala,
Poland.

EDUCATION

Bachelor of Computer Systems, Academy of Computer Science & Management, Poland, 2003.
Studied automation and robotics at the University of Technologies, Poland, 1998.
Additional formal training and teaching experience available on request.

EXPERIENCE

2/2017 – present: BrainChangeContinental (BCC), CEO
Put on the Confitura conference, a Java Conference for Polish community.

12/2013 – present: Elemica (contractor via SoftwareMill), Scala Developer
Implementing a new supply chain operating network to connect suppliers all over the world.

12/2012 – 9/2013: UpNext (contractor via SoftwareMill), Java Developer
Implemented new features in a Push Notifications system, used to send notifications to phone apps.

3/2011 – 9/2012: First National Bank (contractor via SoftwareMill), Java Developer
Developed a collateral system, re-engineered existing application to add new functions.

10/2010 – present: SoftwareMill (contractor), Java Developer
Developed a document workflow system, created a Swing-based desktop client for file
synchronization and a server REST API.

9/2010 – 2/2011: Attikis (contractor via SoftwareMill), Developer
Developed software to monitor home alarm systems and take action based on a defined set of rules
such as sending SMA, email, or calling over VoIP.

9/2007 – 9/2010: Nykredit (contractor via 7N), J2EE Consultant
Developed insurance offers & advice systems, created Web interface to a mainframe system allowing
preparation of insurance offers for private and business customers, supported customer needs.

9/2007 – 9/2010: Nykredit (subcontractor) J2EE Consultant
Generated new development deals for a real estate development company that focuses on multi-
family residential projects, including real-estate market analysis.

9/2007 – 9/2010: 7N Sp. Z o.o. (subcontractor), J2EE Consultant
Developed pension and insurance systems for large Danish bank.

7/2007 – 8/2007: CSC (employee), Application Developer

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4/1999 – 6/2007: Delphi Automotive Systems (employee) Software Developer
Web/Workflow/Office developer, infrastructure engineer, information systems & services engineer.
Created a dedicated workflow system to optimize and speed up document flow between different
departments; developed applications to support shop floor operations; developed shop floor
efficiency monitoring; collected and analyzed production data to generate reports for top
management; provided network and user support; developed an HR support system; managed
employee training and development of personal business plans; developed a warehouse management
system; managed warehouse space; optimized production plans.

1/1998 – 4/1999: ZUS (employee), Computer Systems Engineer
Provided network and user support.

VOLUNTEER WORK

6/2010 – present: Apache Software Foundation
Apache Struts Lead Developer, Member & Struts PMC member.

1/2009 – present: Confitura conference (Java Conference for Polish community)
Main organizer, financial coordinator, contact with partners.

5/2008 – 12/2011: Java Developer’s Network, Editor
Nonprofit web site reporting on Java related technologies.

ORGANIZATIONS

Apache Struts PMC, Member, 2010 – current.
Warszawa Java User Group, Board Member, 2008 – 2011.
Warsjawa 2009, Organizer and Lecturer, 2009.
Founder of Warsaw Design Patterns Study Group, 2008.




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                                  Stephen Slater, Ph.D., CISSP

Dr. Stephen Slater is the founder and CEO of Security Compliance Corporation. He has over 20
years’ experience providing a range of consulting services in web application vulnerability
assessments and penetration testing for some of the world’s top companies. He holds CISSP 1 and
SANS GPEN certifications.2 He wrote the six-day SANS class SEC615 - Secure Internet Presence
(LAMP) focusing on security web application development and management. He has also served
as a Senior Instructor for both the SANS Institute and the MIS Training Institute.

EDUCATION

          Ph.D. in Nuclear Engineering, Parallel Computing, University of California, Berkeley
          Master of Science in Nuclear Engineering, University of California, Berkeley
          Bachelor of Science in Nuclear Engineering, Oregon State University

RECENT EXPERIENCE

2015 – present: Security Compliance Corporation, Founder & CEO
Creator of Access Auditor suite of security software products. Providing executive security
consulting services for companies including Starwood Hotels, Jet.com, Looker, and more.

2015: Jet.com (Acquired by Wal-Mart), Interim Chief Security Officer
Created a scalable security and risk management program; designed and presented long-term
security strategy; implemented security defenses.

2010 – 2015: Responsys (Acquired by Oracle), Chief Security Officer
Created a complete information security program; implemented core IT security program for
defense in depth; created an application and product security program.

2007 – 2010: Salesforce.com (CRM), San Francisco, CA, Information Security Director
Creator of five patent-pending products 3 for the world’s leading cloud computing vendor; delivered
information security strategies and technologies.

2003 – 2007: Visa, Foster City, CA, Chief Security Architect
Lead security architect for one of Visa’s most visible customer-facing applications deployed to over
10,000 banks and merchants worldwide.

SELECTED HONORS

Awarded full support fellowships from National Science Foundation and US Department of Energy.

1
    ISC2, Certified Information Systems Security Professional (“CISSP”),
https://www.isc2.org/Certifications/CISSP (“The CISSP is . . . the most globally recognized
standard of achievement in the industry”).
2
  SANS Institute, GIAC Penetration Tester (“GPEN”), https://pen-
testing.sans.org/certification/gpen.
3
  Patents relate to securing chatter messages, chatter ranking, online fraud detection and prevention,
security configuration auditing and risk analysis.

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Education & Experience – Anna M. Winningham, CISSP ®

Executive Vice-President, RCS

Anna M. Winningham is a former Special Agent for the Federal Bureau of Investigation (FBI). During
her 13 ½ year tenure with the FBI she served as a case agent and a Supervisory Special Agent, overseeing
multiple long-term, complex investigations including organized crime, drug, counter-terrorism,
kidnapping and extortion investigations. In her last assignment with the FBI, Ms. Winningham was the
Supervisory Special Agent for the Crisis Response Squad of the Los Angeles Field Office. Her
responsibilities included oversight and management of the Evidence Response Team, the Crisis
Negotiations Team, the Special Weapons and Tactics Team, and the Weapons of Mass Destruction
(WMD) response (which included all operational WMD components).

As an FBI Special Agent, Ms. Winningham gained extensive experience as an investigator, collecting and
reviewing of evidence from multiple sources, and the utilization of multiple investigative techniques, to
include physical surveillance, the collection of data from electronic devices (computers, phones, disk
drives, etc.), the review of closed circuit television (CCTV) videos, the use of undercover persons and
informants, the review of public documents, and many other types of techniques. As a result of her years
working organized crime and drug investigations, she gained an expertise in the operations of criminal
enterprises, to include street gangs, organized crime and entities involved in thefts.

In her post bureau career, Ms. Winningham obtained her private investigator’s license through the State
of California Bureau of Security and Investigative Services in 2005 and in 2006 was certified as a
Certified Protection Professional ® (CPP) thru ASIS International (ASIS). Additionally, she has
completed the International Information System Security Certification Consortium, Inc., (ISC)²®
certification course and is certified as a Certified Information System Security Professional® (CISSP).
Ms. Winningham stays current with the latest security practices and investigative procedures thru her
long-term association with FBI executive management, as an active member of the Society of Former
Special Agents and InfraGard (a non-profit organization serving as a public-private partnership between
U.S. businesses and the FBI).

Following her career with the FBI, Ms. Winningham has been employed as a private investigator, and has
conducted multiple investigations, during which she has obtained and reviewed evidence and information.
Some of these cases have involved in-depth analysis of information and intelligence collected, to include
the review of electronic information. Ms. Winningham has used this information to provide her clients
with appropriate responses to situations including cyber compromises, civil and criminal litigation. Over
the past 20 years, she has testified in both state and federal criminal and civil courts, and has served as an
expert witness for counsel in Federal court regarding workplace violence and cyber breach matters.

Ms. Winningham has a bachelor’s degree from the University of Texas – El Paso, where she specialized
in Soviet and East European Politics, and completed Russian studies programs at both the US Army
Russian Institute and Middlebury College. She is a military veteran, having served in the U.S. Army as an
Ordnance Officer and was assigned to the 82nd Airborne Division for several years.




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                                 STEVEN J. J. WEISMAN
                                         EDUCATION

#      J. D. Degree, Boston College Law School, 1973
#      B.A. Degree, U. of Massachusetts, 1970, major in Philosophy

                               PROFESSIONAL AFFILIATIONS

#      Member of Massachusetts Bar and Federal Bar
#      Admitted to practice before the United States Supreme Court
#      Member of the Massachusetts Bar Association and the American Bar Association

                                         EXPERIENCE

1973-1975     Attorney, Law offices of Paul T. Ford, Esquire, 49 South Pleasant, Amherst,
              Massachusetts (general practice of law).

1974-1975     Public Defender Holyoke, Massachusetts District Court.

1975-present Sole practitioner (general practice of law).

1979-1984     Author of weekly newspaper column "You and the Law" in Amherst Bulletin
              newspaper.

1980-1982     Weekly legal commentator on television show "22 Alive" on station WWLP in
              Springfield, Massachusetts.

1982-2000     Talk show host of "Attorney Steven Weisman Show" on Boston radio station
              WRKO.

1990-1996     Temporary Faculty University of Massachusetts, Curry College and Boston
              University, instructing Business Law I, Constitutional Law, Advanced
              Constitutional Law, Legal Research, American Presidency and Legal Writing.

1998-2006     Adjunct Faculty Bentley College teaching Elder Planning, Marriage
              Separation and Divorce, Sports & Entertainment Law, Estate and Gift Tax

2000-2003     Talk show host of Live Money with Steve and Ginger on Boston radio station
              WBIX.

2000-2004     Daily legal commentaries on morning shows for Boston radio station WBIX

2001-2016     Co-host of nationally syndicated radio show “A Touch of Grey”

2005-present Weekly commentator on legal matters for nationally syndicated “Good Day”

2007-present Senior Lecturer at Bentley College




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SELECTED PUBLICATIONS

1979-present Author of numerous articles on legal matters, consumer matters and financial
             planning for various publications including the Boston Globe newspaper, Boston
             Magazine, US Air Magazine and Playboy Magazine. Quoted in New York Times,
             Money Magazine, Washington Post, Business News Daily, Wall Street Journal,
             Chicago Tribune. Interviewed on ABC, CBS, MSNBC, Fox News, ABC Nightline,
             CNN/fn,New England Cable News, CBS Morning News, ABC World News, NPR.
             Complete list available on request.

2007-present Frequent appearances on radio and at conferences and in
             interviews to speak on identity theft, internet scams including NPR, CNBC, The
             Dr. Phil Show, The Wall Street Journal, and Barron’s Magazine, Bottom Line
             Wealth Magazine. Weekly commentator on scams and identity theft on WGGB,
             the ABC television affiliate for Springfield, Massachusetts.
             Complete list available on request.

1995-present Legal Editor, Talkers Magazine

2002          Achievement in radio award-best afternoon radio show in Boston.

2003          Author, “A Guide to Elder Planning: Everything You Need to Know to Protect
              Yourself Legally and Financially” published by Prentice Hall.

2004          Author, “Fifty Ways to Protect Your Identity and Your Credit: Everything You
              Need to Know about Identity Theft, Credit Cards, Credit Repair and Credit
              Reports” published by Prentice Hall.

2007          Author, “The Truth About Avoiding Scams” published by Prentice Hall

2008          “The Truth About Avoiding Scams” chosen as one of the Top Ten Business
              Books of the Year by “Smart Money” Magazine

2013         Author of “50 Ways to Protect Your Identity in a Digital Age” published by Prentice
              Hall

2014-present Correspondent for Newsmax television

2014          Author of “Identity Theft Alert” Published by Prentice Hall

2014-present Columnist for USA Today, bankrate.com & The Saturday Evening Post




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                                          Robert Zeidman
SUMMARY
Robert Zeidman has management experience in the founding and daily operation of various high-tech
companies as well as hands-on experience designing, analyzing, and reverse-engineering hardware and
software. Mr. Zeidman is considered a pioneer in the fields of analyzing and synthesizing software source
code and the creator of the field of Software Forensics. He regularly teaches courses in these areas at
universities and conferences throughout the world.

EDUCATION
    Bachelor of Science with distinction in Electrical Engineering, 1981, Cornell University
    Bachelor of Arts cum laude in Physics and with distinction in all subjects, 1981, Cornell University
    Master of Science in Electrical Engineering, 1982, Stanford University

RECENT EXPERIENCE
10/1987 - present: Zeidman Consulting, Founder and President
Provide engineering hardware and software design services to companies; engineering support and expert
witnesses for high-tech litigation.

8/2007-present: Software Analysis & Forensic Engineering Corporation, Founder and President
Created various patented software tools for intellectual property litigation for efficiently finding
correlation between source code files of different programs.

1/2002 - present: Zeidman Technologies, Founder and President
Created various patented software tools for embedded software development.

RECENT SELECTED HONORS, AWARDS & DISTINCTIONS
• Outstanding Engineer in a Specialized Field: For Pioneering Contributions to the Field of Forensic
Software Analysis, IEEE Region 6 Central Area, 2015.
• Final Round, 2011 Jolt Awards, for the book The Software IP Detective’s Handbook: Measurement,
Comparison, and Infringement Detection.
• Outstanding Engineer in a Specialized Field: For Innovative Contributions in the Area of Forensic
Software Analysis, IEEE Santa Clara Valley Section, 2010.

RECENT SELECTED PUBLICATIONS
Bob Zeidman, Just Enough Electronics to Impress Your Friends and Colleagues, Swiss Creek Publications,
Cupertino, CA, 2013, 214pp.

Bob Zeidman, The Software IP Detective’s Handbook: Measurement, Comparison, and Infringement Detection,
Prentice-Hall, Upper Saddle River, NJ, 2011, 450pp.

Bob Zeidman, Designing with FPGAs and CPLDs, CMP Books, Lawrence, KS, 2002, 220pp.

Bob Zeidman, Introduction to Verilog, IEEE Press, Piscataway, NJ, 2000, 99pp.

Bob Zeidman, Verilog Designer's Library, Prentice-Hall, Upper Saddle River, NJ, 1999, 411pp.




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  HENRY R. SILVERMAN PROFESSOR OF LAW AND PROFESSOR OF PHILOSOPHY
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Education: Anita L. Allen is a JD graduate of Harvard Law School and holds a PhD in
Philosophy from the University of Michigan.

Current Employment: Allen is Vice Provost for Faculty and the Henry R. Silverman
Professor of Law and Professor of Philosophy at the University of Pennsylvania. She holds a
secondary affiliation with the Department of Africana Studies and is a Senior Fellow of the
Leonard Davis Institute of Health Economics. In her fifth year as university-wide Vice
Provost for Faculty for Penn’s twelve schools, she manages faculty appointments, promotions
and tenure, reviews faculty salaries, oversees faculty benefits, climate and diversity/inclusion
initiatives, and also chairs the Provost’s Arts Advisory Committee.

Legal Academy Leadership: Formerly a Deputy Dean at Penn Law School, Allen was the
2013 recipient of the annual A. Leo Levin Award for Excellence in an Introductory Course
(Torts). She has overseen SJD theses of lawyers from Canada, Israel, Taiwan and China.
Prior to coming to Penn, Allen was Professor and Vice Dean for Research and Scholarship at
Georgetown University Law Center. She began her teaching career on the faculties of
Carnegie-Mellon University and Pittsburgh Law School, and she has been a full-time visiting
professor at Harvard Law, Yale Law, Villanova Law and Waseda University Law School,
Tokyo. Allen was a fellow of the Law and Public Affairs Program at Princeton University.
Allen is featured in a Penn Coursera MOOC, Introduction to American Law, lecturing on
Torts. She served on the Association of American Law Schools’ Executive Committee, after
chairing its sections on Jurisprudence and Privacy and Defamation. Allen served on the
founding Executive Committee of the interdisciplinary Association for the Study of Law,
Culture and the Humanities, on the American Association of University Women’s Legal
Advisory Board and on American Association of University Professors’ Litigation
Committee.

Legal Profession: Allen is a member of the Pennsylvania and New York state bars. She was
an Associate Attorney with Cravath, Swaine and Moore after graduating from Harvard, and
was a Summer Associate with Milbank Tweed in New York and the former Gaston Snow in
Boston. Today, she is an elected member of the American Law Institute. She offers CLE
training for lawyers through the Practicing Law Institute in New York and for the federal and
state judiciaries in Pennsylvania. Allen has served as an expert witness, and consults with law
firms and lawyers on issues relating to professional ethics, bioethics, and data protection. She
formerly served on the National Association of Women Lawyer’s Supreme Court Committee.



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Allen was appointed to the first Pennsylvania Continuing Judicial Education Board of Judges
in 2016. Allen served several terms on the Board of the Bazelon Center for Mental Health
Law and has served on the ACLU Privacy Committee. Today she serves on the National
Academies Forum on Cyber Resilience, and the Board of the Electronic Privacy Information
Center (EPIC). In June 2014, she received a Lifetime Achievement Award from EPIC for
pioneering privacy scholarship and advocacy.

Research and Impact: Allen is an expert on privacy and data protection law and ethics, co-
author of Privacy Law and Society (2016), a comprehensive textbook. Allen’s sole-authored
books include Unpopular Privacy (2011); The New Ethics (2004), Why Privacy Isn’t
Everything (2003), and Uneasy Access (1988). Allen’s ideas have been published in the
Harvard Law Review Forum, the Stanford Law Review, the Chicago Law Review, the
California Law Review, and many other law journals; she has published more than 100
scholarly articles, essays and book chapters. She is frequently quoted in major media and has
contributed opinion pieces to newspapers, magazines and blogs (e.g., Daily Beast, Politico,
Star-Ledger, O Magazine), appeared on numerous television and radio programs, and lectured
and taught nationally and internationally in Canada, China, Japan, Taiwan, and Israel and
throughout Europe.

Philosophy and Ethics: Allen has served on numerous editorial, advisory, and non-profit
boards relating to academic philosophy and practical and professional ethics. In 2017 Allen
was elected Vice President and President Elect of the American Philosophical Association,
Eastern Division. She has served on the Association for Practical and Professional Ethics’
Executive Committee and the Hastings Center’s Board of Directors. She has participated as
an instructor in Penn’s Bioethics Boot Camp for philosophy graduate students and in the
summer program of Penn’s Center for Neuroscience and Society. She is currently a Fellow of
the Johns Hopkins University Humanities Center, and was a summer faculty member of the
School of Criticism and Theory at Cornell University in 2016. She has been recognized by the
Collegium of Black Women Philosophers and received the Alain Locke Award for
Contributions to Legal Philosophy.

Medicine and Health Care: Allen was inducted into the National Academy of Medicine in
2016. Under both of President Barack Obama’s terms of office, she served on the Presidential
Commission for the Study of Bioethical Issues. She was a member of the recent American
Psychological Association Commission on Ethics Processes, and is currently serving on the
IRB of the NIH Precision Medicine Initiative, as well as on the Board of Directors of the
WCG Foundation, a medical charity.

Personal: Allen was born in Port Townsend, Washington. She is married to an attorney and
has two adult children. She enjoys gardening, art museums and travel; and is a member of the
Bryn Mawr Presbyterian Church.




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                   Case Management Plan for Consumer Actions

This case management plan identifies the tasks necessary to efficiently coordinate and
prosecute the litigation following consolidation through discovery and dispositive
motions and those undertaken to date.

Evidence Preservation:
   • Notice was sent to defendants’ counsel and shared with plaintiffs’ counsel.

Fact Investigation
   • Questionnaire was prepared, distributed and information collected from plaintiffs.
   • Continue investigation of factual sources.
   • Prepare chronology of events and cast of characters.

Legal Research/Substantive Briefing
   • Continue research to identify any state or federal cause of action not already
      asserted.
   • Motions and other briefing to be undertaken as necessary.

Consolidated Complaint
  • Continue preparation of consolidated complaint to include results of factual
     investigation and legal research.

Case Management
  • Prepare Case Management Order specifying all events and deadlines.
  • Discuss protocols with defendants’ counsel to govern document preservation, a
      protective order, limitations on discovery and electronically stored information,
     including the identification of custodians, search terms and review techniques.
  • Prepare preliminary report and discovery plan jointly with defendants’ counsel.
  • As directed, assist Court in coordinating remaining state cases.
  • Establish, explain, and enforce time- and expense-keeping requirements.
  • Identify and assign tasks as needed.
  • After exchange of substantive documents, explore settlement through mediation
      and look for resolution opportunities throughout the litigation.

Damages/Injunctive Relief &Expert Tasks
  • Continue to retain experts as needed.
  • Continue to investigate categories of damages suffered and determine whether
    injunctive relief is appropriate and in the best interests of the Class members.




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